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                           UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MINNESOTA


In re:                                       Bankruptcy Case No. 15-30125

The Archdiocese of Saint Paul and            Chapter 11
Minneapolis,

Debtor.


CERTAIN INSURERS’ PLAN OBJECTIONS TO THE SECOND AMENDED CHAPTER

11    PLAN      OF   REORGANIZATION       OF   THE    OFFICIAL     COMMITTEE      OF

UNSECURED CREDITORS OF THE ARCHDIOCESE OF SAINT PAUL AND

MINNEAPOLIS




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          Certain Underwriters at Lloyd’s, London, who subscribed severally and not jointly as

their interests appear to Policy Nos. SL 3721, SL 3722, SL 3723, ISL 3115, ISL 3116, ISL 3117,

ISL3675, ISL3613, ISL3614 and ISL3615; Catalina Worthing Insurance Ltd f/k/a HFPI (as Part

VII transferee of (Excess Insurance Company Ltd and/or London & Edinburgh Insurance

Company Ltd as successor to London & Edinburgh General Insurance Company Ltd));

RiverStone Insurance (UK) Limited (as successor in interest to Sphere Drake Insurance Ltd.);

RiverStone Management Limited for and on behalf of Markel International Insurance Company

Limited (formerly known as Terra Nova Insurance Company Limited); Tenecom, Ltd. (formerly

known as The Yasuda Fire and Marine Insurance Company (U.K.); Dominion Insurance

Company Ltd.; Stronghold Insurance Company Ltd.; and, CX Reinsurance Company Limited

(formerly known as CNA Reinsurance of London Ltd.) (collectively “London Market Insurers”

or “LMI”), Interstate Fire & Casualty Company (“IFC”), and The Continental Insurance

Company, as successor to The Fidelity And Casualty Company Of New York, National Fire

Insurance Company, and Continental Casualty Company (together, “Continental”, (collectively,

LMI, IFC and Continental are referred to herein as “Certain Insurers”), through their undersigned

attorneys, having submitted their list of objections (“Initial Objections”) to the Second Amended

Chapter 11 Plan of Reorganization of the Official Committee of Unsecured Creditors of the

Archdiocese of Saint Paul and Minneapolis (“Plan”), hereby join in the contemporaneously filed

Memorandum of Law and Appendix in Support of the Objections of Travelers Casualty and

Surety Company, Hartford Accident and Indemnity Company, American Home Assurance

Company, TIG Insurance Company, and Fireman’s Fund Insurance Company to the Second

Amended Chapter 11 Plan of Reorganization of the Official Committee of Unsecured Creditors,

and supplement their Initial Objections in accordance with the Court’s instructions as follows.


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          For ease of reference, the relevant Plan provisions are set forth in the attached Appendix.

                                           OBJECTIONS 1

Objection--1.      The Plan Violates 11 U.S.C. § 1129(a)(1)

          A. Pertinent Plan Provision(s). See Appendix Tab I.

          B. Applicable Statute(s)

          11 U.S.C. 1129(a)(1)

          (a) The court shall confirm a plan only if all of the following requirements are
          met: (1) The plan complies with the applicable provisions of this title.

          C. Applicable Case law

          “Section 1129(a)(1) requires that a plan comply with the applicable provisions of the

Bankruptcy Code”. Wigley v. Wigley (In re Wigley), 557 B.R. 678, 685 (B.A.P. 8th Cir. 2016).

Thus, confirmation is precluded if any terms of a plan violate the Bankruptcy Code. In re A.P.I.

Inc., 331 B.R. 828, 868 (Bankr. D. Minn. 2005).

          D. Argument

          The Plan violates 11 U.S.C. § 1129(a)(1) because it fails to comply with the following

provisions of Title 11 of the United States Code, as set forth below: 11 U.S.C. § 101, et. seq.: 11

U.S.C. §§ 502(b)(1); 1123(a)(2); 1123(a)(5); 1124(1); 1129(a)(3); 1129(a)(7); 1129(a)(8);

1129(a)(11); 1129(a)(16); and 1141(a).




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    Capitalized terms not defined herein shall take the meaning ascribed to them in the Plan.


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Objection--2.       Sections 3.1 and 4.13 of the Plan 2 Violate 11 U.S.C. §§ 1129(a)(1),
                    1123(a)(2) and 1124(1)

          A. Pertinent Plan Provision(s). See Appendix Tab II.

          B. Applicable Statute(s)

          11 U.S.C. § 1123(a)(2)

          (a) Notwithstanding any otherwise applicable nonbankruptcy law, a plan shall …
          (2) specify any class of claims or interests that is not impaired under the plan…

          11 U.S.C. § 1124(1)

          Except as provided in section 1123(a)(4) of this title, a class of claims or interests
          is impaired under a plan unless, with respect to each claim or interest of such
          class, the plan … (1) leaves unaltered the legal, equitable, and contractual rights
          to which such claim or interest entitles the holder of such claim or interest…

          C. Applicable Case law

          Where a plan fails to specify properly which classes of claims are impaired, the plan

violates 11 U.S.C. § 1123(a)(2) and is ineligible for confirmation. See In re Valley Park Group,

Inc., 96 B.R. 16, 22 (Bankr. N.D.N.Y. 1989).                 “The statutory provisions relating to

reorganizations divide classes of claims into those that are impaired under the reorganization

plan and those that are not”. In re Polytherm Industries, Inc., 33 B.R. 823, 828 (W.D. Wis.

1983). “Only impaired classes have a right to vote to accept or reject a reorganization plan. See

11 U.S.C. § 1126”. Id.

          “Under 11 U.S.C. § 1124(1), a class of claims is ‘impaired’ under a plan of

reorganization unless, with respect to each claim in the class, the plan ‘leaves unaltered the legal,

equitable, and contractual rights to which such claim or interest entitles the holder of such claim

or interest’”, Windsor on the River Assocs. v. Balcor Real Estate Fin. (In re Windsor on the River


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 All references to “Sections” and “Exhibits” herein are to Sections and Exhibits of the Plan,
unless otherwise designated.

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Assocs.), 7 F.3d 127, 130 (8th Cir. 1993). “By this standard, any alteration of a creditor’s rights,

no matter how minor, constitutes ‘impairment’”. Id. “The determination of these claims being

impaired or unimpaired is significant”. In re Holthoff, 58 B.R. 216, 219 (Bankr. E.D. Ark.

1985).

          D. Argument

          Class 13 claims are indemnity or contribution claims by the Parishes against the Debtor,

which are contingent upon the Parishes being held liable to an abuse claimant. The Plan

designates Class 13 as unimpaired. However, Class 13 is in fact impaired because its legal rights

are altered, since the claims in Class 13 receive nothing under the Plan. Consequently, the

designation of the Class 13 claims as unimpaired violates both 11 U.S.C. §§ 1124(1) and

1123(a)(2).

Objection--3.       Section 5.2(b) Violates 11 U.S.C. §§ 1129(a)(3) and 1129(a)(11)

          A. Pertinent Plan Provision(s). See Appendix Tab III.

          B. Applicable Statute(s)

          11 U.S.C. §§ 1129(a)(3) and (a)(11)

          The court shall confirm a plan only if all of the following requirements are met:…
          (3) The plan has been proposed in good faith and not by any means forbidden by
          law... (11) Confirmation of the plan is not likely to be followed by the liquidation,
          or the need for further financial reorganization, of the debtor or any successor to
          the debtor under the plan, unless such liquidation or reorganization is proposed in
          the plan.

          C. Applicable Case law

          “Good faith” is not defined in the Code but, “a plan is considered proposed in good faith

if there is a reasonable likelihood that the plan will achieve a result consistent with the standards

prescribed under the Code”. Hanson v. First Bank of S. D., N.A., 828 F.2d 1310, 1315 (8th Cir.

1987), overruled in part on other grounds, Pioneer Inv. Servs. v. Brunswick Assocs. Ltd. P’ship,


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507 U.S. 380, 387 (1993). “[F]or purposes of determining good faith under section 1129(a)(3)

… the important point of inquiry is the plan itself and whether such plan will fairly achieve a

result consistent with the objectives and purposes of the Bankruptcy Code”. Cutcliff v. Reuter

(In re Reuter), 427 B.R. 727, 770 (Bankr. W.D. Mo. 2010).

          Whether a plan is proposed in good faith turns on an examination of the totality of the

circumstances surrounding the plan and the bankruptcy filing. Noreen v. Slattengren, 974 F.2d

75, 76 (8th Cir. 1992). “These standards include serving Bankruptcy Code objectives, such as

‘preserving going concerns and maximizing property available to satisfy creditors, giving debtors

a fresh start in life, discouraging debtor misconduct, the expeditious liquidation and distribution

of the bankruptcy estate to its creditors, and achieving fundamental fairness and justice’”. Ad

Hoc Comm. of Non-Consenting Creditors v. Peabody Energy Corp. (In re Peabody Energy

Corp.), 2017 U.S. Dist. LEXIS 47231, 16-17 (E.D. Mo. Mar. 30, 2017) (quoting In re W.R.

Grace & Co., 729 F.3d 332, 346 (3d Cir. 2013)).

          11 U.S.C. 1129(a)(11) “establishes what is commonly known as the ‘feasibility’

requirement, and as a practical matter it requires the court to find that the plan is ‘workable’

before it may be confirmed”. Danny Thomas Props. II Ltd. Pshp. v. Beal Bank, S.B.B. (In re

Danny Thomas Props. II Ltd. Pshp.), 241 F.3d 959, 962 (8th Cir. 2001) (citations omitted).

“Feasibility determinations must be ‘firmly rooted in predictions based on objective fact’”. Id.,

(citations omitted). “One of these requirements is a finding by the court that ‘confirmation of the

plan is not likely to be followed by the liquidation, or the need for further financial

reorganization, of the debtor or any successor to the debtor under the plan….’” Danny Thomas

Props. II Ltd. Pshp. v. Beal Bank, S.B.B. (In re Danny Thomas Props. II Ltd. Pshp.), 241 F.3d

959, 962 (8th Cir. 2001) (citations omitted). However, a proposed plan is not feasible when



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there is no margin of error contained in the debtor's financial projections, because there is no

cash reserve to protect against a shortfall. Such a plan is not proposed in good faith, because of

the inadequate cash reserve. See In re Pleasant Woods Assocs. Ltd. Partnership, 2 F.3d 837,

837-838 (8th Cir. 1993).

     D. Argument

          Section 5.2 violates 11 U.S.C. §§ 1129(a)(3) and (a)(11) because it states: “Under this

Plan, the Bankruptcy Court will determine the value of the Debtor’s assets and the Debtor will

then pay that value into the Trust”. That requirement leaves no margin of error should an

adverse event occur; hence, the Court cannot determine that confirmation of the Plan will not be

followed by the liquidation of the Reorganized Debtor or further financial reorganization. To the

contrary, such a forced liquidation following confirmation makes the Plan not feasible as a

matter of law.

Objection--4.      Section 5.2(b) Violates 11 U.S.C. §§ 1129(a)(3) and 1129(a)(11) Because the
                   Committee Plan Fails to Explain How its Proposed Funding Options Can
                   Be Obtained.

          A. Pertinent Plan Provision(s). See Appendix Tab III.

          B. Applicable Statute(s)

          11 U.S.C. § 1129(a)(3). See Objection 3, supra at page 4.

          11 U.S.C. § 1129(a)(11), See Objection 3, supra at page 4.

          C. Applicable Case law

          See Objection 3, supra at page 4, for a discussion of the pertinent case law under 11

U.S.C. § 1129(a)(3) and 11 U.S.C. § 1129(a)(11).




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          D. Argument

          Section 5.2(b) requires the Debtor to fund the Plan by depositing into the Trust the

equivalent of whatever sum the Bankruptcy Court determines the Debtor’s assets to be worth.

Because the valuation has not yet occurred, and is not likely to occur until the confirmation

hearing, the asset value is unknown. Moreover, the Plan fails to specify how the Debtor will

obtain the funds equivalent to the asset value. It states “[t]he Debtor may fund the Plan as it

deems appropriate”, and suggests multiple sources of funding, including increases in Parish

assessments, fundraising, loan financing, and/or the sale of select assets. Plan at § 5.2(b).

          Section 5.2 then contradicts its own terms by stating: “[t]he Debtor’s assets need not be

sold or otherwise liquidated through this Plan”. Id. The Plan does not set forth what amount is

required to fund the Plan, and it does not include any mechanism by which the Plan will actually

be funded. However, the requirement that the Debtor pay into the Trust the full value of its

assets will render the Debtor immediately insolvent and incapable of functioning. Thus, Section

5.2(b) violates 11 U.S.C. § 1129(a)(3) and 1129(a)(11).

Objection--5.      Section 5.2(b) Violates the Religious Freedom Restoration Act, 42
                   U.S.C. § 2000bb Through 42 U.S.C. § 2000bb-4 (“RFRA”), Because it
                   Imposes a Substantial Burden on the Debtor to Seek Funding from Its
                   Operations

          A. Pertinent Plan Provision(s). See Appendix Tab III.

          B. Applicable Statute(s) and U.S. Constitutional Amendments

          U.S. Constitution, Amendment I (“Congress shall make no law respecting an
          establishment of religion, or prohibiting the free exercise thereof…”).

          Section 2000bb-1 of RFRA

          (a) In general--Government shall not substantially burden a person’s exercise of
          religion even if the burden results from a rule of general applicability, except as
          provided in subsection (b) of this section.



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          (b) Exception --Government may substantially burden a person’s exercise of
          religion only if it demonstrates that application of the burden to the person … (1)
          is in furtherance of a compelling governmental interest; and (2) is the least
          restrictive means of furthering that compelling governmental interest.

          (c) Judicial relief -- A person whose religious exercise has been burdened in
          violation of this section may assert that violation as a claim or defense in a
          judicial proceeding and obtain appropriate relief against a government. Standing
          to assert a claim or defense under this section shall be governed by the general
          rules of standing under article III of the Constitution.

          Section 2000bb-3 of the RFRA

          (a) In general--This chapter applies to all Federal law, and the implementation of
          that law, whether statutory or otherwise, and whether adopted before or after
          November 16, 1993.

          (b) Rule of construction--Federal statutory law adopted after November 16, 1993,
          is subject to this chapter unless such law explicitly excludes such application by
          reference to this chapter.

          (c) Religious belief unaffected--Nothing in this chapter shall be construed to
          authorize any government to burden any religious belief.

          C. Applicable Case law

          Under controlling authority from the Supreme Court, the Court may not interfere “in an

internal church decision that affects the faith and mission of the church itself”. Hosanna-Tabor

Evangelical Lutheran Church & Sch. v. EEOC, 565 U.S. 171, 132 S. Ct. 694, 707, 181 L. Ed. 2d

650 (2012). Under RFRA, the threshold inquiry is whether a government action “substantially

burdens” a person’s religious practice. Young v. Evangelical Free Church (In re Young), 82 F.3d

1407, 1418 (8th Cir. 1996) (“Young I”), vacated, 521 U.S. 114 (1997), on remand, 141 F.3d 854

(8th Cir. 1998) (“Young II”). To be considered a “substantial burden”, “the governmental action

must ‘significantly inhibit or constrain conduct or expression that manifests some central tenet of

a [person’s] individual [religious] beliefs; must meaningfully curtail a [person’s] ability to

express adherence to his or her faith; or must deny a [person] reasonable opportunities to engage

in those activities that are fundamental to a [person’s] religion’”. Young I, 82 F.3d at 1418


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(citations omitted). When governmental action is shown to “substantially burden” a person’s

free exercise right, the government must demonstrate that the substantial burden is in furtherance

of a compelling government interest and is the least restrictive means of furthering that

compelling governmental interest. Id. at 1419. What constitutes a “compelling governmental

interest” is not set forth or defined in the statute, however, case law has described such interests

as “those of the ‘highest order’”. Id.

          “Congress enacted RFRA ‘to restore the compelling interest test … and to guarantee its

application in all cases where free exercise of religion is substantially burdened [and] to provide

a claim or defense to persons whose religious exercise is substantially burdened by government”.

Young II, 141 F.3d 854, 858 (8th Cir. 1998) (citing 42 U.S.C. § 2000bb(b)(1) & (2)) (emphasis

added).

          RFRA and the First Amendment bar actions even if the suit does not involve an issue of

religious doctrine, but concerns merely the governance structure of the church, if doing so would

interfere with the church's management. Kedroff v. St. Nicholas Cathedral, 344 U.S. 94, 116, 73

S. Ct. 143, 97 L. Ed. 120 (1952); Young v. Northern Illinois Conference of United Methodist

Church, 21 F.3d 184, 187 (7th Cir. 1994); Combs v. Central Texas Annual Conference of United

Methodist Church, 173 F.3d 343, 350 (5th Cir. 1999); EEOC v. Catholic University of America,

83 F.3d 455, 462-63 (D.C. Cir. 1996). These cases “affirm the fundamental right of churches to

‘decide for themselves, free from state interference, matters of church government as well as

those of faith and doctrine’”. EEOC, 83 F.3d. at 462, citing Kedroff; see also Gellington v.

Christian Methodist Episcopal Church, Inc., 203 F.3d 1299, 1304 (11th Cir. 2000).

          RFRA and the First Amendment apply in bankruptcy cases. In Young I, the United States

Court of Appeals for the Eighth Circuit explicitly found that “the interests advanced by the



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bankruptcy system are not compelling under the RFRA”. Young I, 82 F.3d at 1418. The Eighth

Circuit reaffirmed this holding on remand in Young II by finding that RFRA “has effectively

amended the Bankruptcy Code . . .”. 141 F. 3d at 861. At issue in Young I and Young II was an

attempt by a bankruptcy trustee to enforce a specific fraudulent transfer provision of the

Bankruptcy Code against a church. Holding in favor of the church, the Eighth Circuit found the

trustee’s attempt to enforce the fraudulent transfer provision posed a substantial burden on the

debtors’ free exercise of religion under RFRA. As noted by the court, the interests of providing

debtors with a fresh start and protecting the interests of creditors are not compelling

governmental interests under RFRA. Young I, 82 F.3d at 1420.

          D. Argument

          Section 5.2(b) requires the Debtor to fund the Plan by depositing into the Trust the

equivalent of whatever sum the Bankruptcy Court determines the Debtor’s assets to be worth.

Because the valuation has not yet occurred, and is not likely to occur until the confirmation

hearing, the asset value is unknown. Moreover, the Plan fails to specify how the Debtor will

obtain the funds equivalent to the asset value. It states “[t]he Debtor may fund the Plan as it

deems appropriate”, and suggests multiple sources of funding, including increases in Parish

assessments, fundraising, loan financing, and/or the sale of select assets. Plan at § 5.2(b).

          Forcing the Debtor to fund the Plan through any of the proposed funding sources would

substantially burden the Debtor’s exercise of its religion because it would allow the Committee

to utilize the Bankruptcy Code to regulate how the Debtor operates.            The Plan cannot be

confirmed because Section 5.2(b) violates RFRA and the First Amendment to the U.S.

Constitution by imposing a substantial burden on the Debtor through the requirement that the




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Debtor fund the Plan from its operations. Moreover, the Plan does not present a compelling

government interest for such substantial burden.

Objection--6.       Section 4.13 Violates 11 U.S.C. § 1129(a)(7) and 1124(1) Because It
                    Provides More Favorable Treatment to the Holders of Class 6 Claims than
                    to Other Unsecured Claims.

          A. Pertinent Plan Provision(s). See Appendix Tab II.

          B. Applicable Statute(s)

          11 U.S.C. 1129(a)(3). See Objection 3, supra at page 7;

          11 U.S.C. § 1129(a)(7)

          (a) The court shall confirm a plan only if all of the following requirements are
          met…(7) With respect to each impaired class of claims or interests…(A) each
          holder of a claim or interest of such class…(i) has accepted the plan; or (ii) will
          receive or retain under the plan on account of such claim or interest property of a
          value, as of the effective date of the plan, that is not less than the amount that such
          holder would so receive or retain if the debtor were liquidated under chapter 7 of
          this title on such date…

          11 U.S.C. § 1124(1)            See Objection 2, supra at page 2;

          11 U.S.C. § 726

          (a) … property of the estate shall be distributed… (2) second, in payment of any
          allowed unsecured claim … timely filed under section 501(a) of this title [11 USC
          § 501(a)].

          C. Applicable Case law

          See Objection 3, supra at page 4, for a discussion of the pertinent case law under 11

U.S.C. § 1129(a)(3).

          “Under the Bankruptcy Code, a debtor’s Chapter 11 plan may only be confirmed, inter

alia, if any holder of an impaired claim or interest either accepts the plan or receives no less than

he would under a Chapter 7 liquidation (the best-interest-of-the-creditors test), 11 U.S.C. §

1129(a)(7)(A)”. Diwan, L.L.C. v. Maha-Vishnu (In re Diwan, L.L.C.), 848 F.3d 1147, 1149 (8th



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Cir. 2017). Under 11 U.S.C. § 726, prepetition tort claims are simply prepetition unsecured

claims. See, e.g., In re Lull Corp., 162 B.R. 234, 241 (Bankr. D. Minn. 1993). Class 13 Claims

(Abuse-Related Contingent Claims) for reimbursement are also prepetition unsecured claims

once the contingency has been resolved, i.e., when the Parish-related defendant has been found

to be liable for the underlying claims. See, e.g., In re Gilbertson Rests. LLC, 2005 Bankr. LEXIS

554 (Bankr. N.D. Iowa Apr. 4, 2005).

          D. Argument

          Under the Plan, the Class 13 claims are contingent claims for reimbursement. Under 11

U.S.C. § 726, contingent claims for reimbursement and tort claims have the same priority.

Because both Class 6 and Class 13 claims have similar legal priority, neither class would be

entitled to be paid a higher percentage in chapter 7. However, under the Plan, Class 13 claims

receive nothing, while Class 6 claims are paid. Thus, the Plan has a payment scheme different

than that set forth in 11 U.S.C. § 726, and it violates 11 U.S.C. § 1129(a)(7).

Objection--7.      Sections 3.1, 3.2, 4.3, 4.4, 4.5, 4.7, 4.8 , 4.9, 4.13, 4.14, 4.15, 4.16, Taken
                   Together, Violate 11 U.S.C. § 1123(a)(2), 1124(1) and 1129(a)(8)

          A. Pertinent Plan Provision(s). See Appendix Tab IV.

          B. Applicable Statute(s)

          11 U.S.C § 1123(a)(2)        See Objection 2, supra at page 2.

          11 § U.S.C. § 1124(1)        See Objection 2, supra at page 2.

          11 U.S.C. § 1129(a)(8)

          (a) The court shall confirm a plan only if all of the following requirements are
          met… (8) With respect to each class of claims or interests…(A) such class has
          accepted the plan; or (B) such class is not impaired under the plan.




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          C. Applicable Case law

          See Objection 2, supra at page 3, for a discussion of the pertinent case law under 11

U.S.C. § 1123(a)(2) and 11 U.S.C. § 1124(1).

          D. Argument

          As discussed above, Section 5.2 will render the Reorganized Debtor insolvent. Under

Sections 4.3, 4.4, 4.7, 4.8, 4.9, 4.13, 4.14, 4.15, and 4.16, the claimants in Classes 3, 4, 7, 8, 9,

13, 14, 15 and 16 will receive claims against the insolvent Reorganized Debtor in exchange for

their claims against the assets of the estate. Only the Class 6 claims will be paid from estate

assets. Because the claimants in Classes 3, 4, 7, 8, 9, 13, 14, 15 and 16 are receiving claims

against the insolvent Reorganized Debtor in exchange for their rights against the estate assets,

their claims are impaired. However, Sections 3.1 and 3.2 improperly categorize Classes 3, 4, 7,

8, 9, 13, 14, 15 and 16 as unimpaired, thereby depriving them of the right to vote in violation of

11 U.S.C. § 1123(a)(2) and § 1124(1). Thus, the claimants in such Classes will neither be paid

in full nor allowed to vote to accept the Plan, violating 11 U.S.C. § 1129(a)(8).

Objection--8.      Sections 5.29(b), 6.1(a), 6.2(a), 6.2(c) and Other Sections Violate 11 U.S.C.
                   §§ 1129(a)(11), 1123(a)(5) and 1123(b)(3).

          A. Pertinent Plan Provision(s). See Appendix Tab V.

          B. Applicable Statute(s)

          11 U.S.C. § 1129(a)(11). See Objection 3, supra at page 4.

          11 U.S.C. §§ 1123(a)(5)

          (a) Notwithstanding any otherwise applicable nonbankruptcy law, a plan shall…
          (5) provide adequate means for the plan’s implementation…




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          C. Applicable Case law

          See Objection 3, supra at page 4, for a discussion of the pertinent case law under 11

U.S.C. §1129(a)(11).

          “Chapter 11 provides that a debtor’s plan of reorganization must provide adequate means

for the plan's implementation…”. Pacifica L 51 LLC v. New Invs. Inc. (In re New Invs., Inc.),

840 F.3d 1137, 1138 (9th Cir. 2016). A plan that fails to include adequate means for its

implementation cannot be confirmed.       In re Star Ambulance Serv., LLC, 540 B.R. 251, 261

(Bankr. S.D. Tex. 2015).

          D. Argument

          The Plan violates 11 U.S.C. § 1123(a)(5) because it fails to provide adequate means for

its implementation. Sections 6.1(a) and 6.2(a) presume the existence of settlements with insurers

that cannot come into existence. The insurance settlements require certain terms and conditions

to be specified in the Plan, i.e., that there be an injunction of claims against the Debtor and that

contribution claims by Non-Settling Insurers be enjoined. The Plan includes neither provision.

Hence, those settlements will never come into effect, precluding implementation of the Plan,

thereby violating 11 U.S.C. 1123(a)(5).

          Moreover, the Plan violates 11 U.S.C. § 1129(a)(11). Because, as noted above, the

insurance settlements will never come into effect, the Plan cannot be carried out according to its

terms; hence, it is not feasible.




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Objection--9.      The Committee Plan Cannot Be Confirmed Because Sections 1.1(sss),
                   5.2(e)(1), 6.1(b)(2) and 6.2(a) Are Inconsistent With Each Other

Objection--10. The Committee Plan Cannot Be Confirmed Because Sections 5.2(e)(1),
               6.1(a) and 6.1(b) Are Inconsistent with Section 1.1(sss)

          A. Pertinent Plan Provision(s). See Appendix Tab VI.

          B. Applicable Statute(s)

          None.

          C. Applicable Case law

          When a plan includes inconsistent terms, it cannot be confirmed. In re Loganbill, 554

B.R. 871, 885 (Bankr. W.D. Mo. 2016).

          D. Argument

          Section 1.1(sss), the definition of “Transferred Insurance Interests”, does not include the

right to insurance coverage for the Class 6 Claims to be resolved by the Trust. It includes only

the “proceeds” of “Insurance Policies”, and the right to sue Non-Settling Insurers for their

conduct in handling claims, i.e., bad faith claims. Section 5.2(e)(1) transfers the Transferred

Insurance Interests to the Trust. Because of the definition in Section 1.1(sss), that transfer does

not include the right to insurance coverage. However, Section 6.1(b)(2) presumes the Trust has

the right to obtain insurance coverage for Tort Claims channeled to the Trust. Because Section

1.1(sss) does not include claims for insurance coverage, 6.1(b)(2) is inconsistent with Section

1.1(sss), and the Committee Plan cannot be confirmed.

Objection--11. Sections 1.1(sss), 5.2(e)(1), 6.1(a) and 6.1(b) Violate Applicable State Law

          A. Pertinent Plan Provision(s). See Appendix Tab VII.

          B. Applicable Statute(s)

          None.



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          C. Applicable Case law

          The nature and extent of a bankruptcy debtor’s property interests are governed by state

law. See In re Broadview Lumber Co., Inc., 118 F.3d 1246, 1250 (8th Cir. 1997); Travelers Cas.

& Sur. Co. of Am. v. PG&E, 549 U.S. 443, 450, 452 (2007)) (“‘[u]nless some federal interest

requires a different result, there is no reason why such interests should be analyzed differently

simply because an interested party is involved in a bankruptcy proceeding.’). Thus, “[p]roperty

of the estate comes into the estate subject to all restrictions applicable to that property under state

law, unless the restriction is undone by the Bankruptcy Code.” Landry v. Exxon Pipeline Co.

Mendoza Marine, Inc., 260 B.R. 769, 786 n. 62 (Bankr. M.D. La. 2001); Travelers, 549 U.S. at

451. This rule applies equally to insurance proceeds. In re W.R. Grace & Co., 475 B.R. 34, 126

(D. Del. 2012) (holding that the tort claimants did not have a state-law right to the insurance

proceeds, so they could not claim a right to the proceeds in bankruptcy); Allied Prods. Corp. v.

ITT Indus. (In re Allied Prods. Corp.), Case No. 03-cv-1361, 2004 U.S. Dist. LEXIS 5288 at

*25-26 (N.D. Ill. Mar. 31, 2004). So, unless the applicable state law is contradicted by a

Bankruptcy Code provision, a claimant has a right to the proceeds in bankruptcy only if it has a

right to the proceeds under state law. In re W.R. Grace & Co., 475 B.R. at 126-27; Landry, 260

B.R. at 786 n. 62.

          D. Argument

          Sections 1.1(sss), 5.2(e)(1), 6.1(a) and 6.1(b) provide for the assignment of the

Transferred Insurance Interests to the Trust. The definition of Transferred Insurance Interests

does not include the right to insurance coverage for the Class 6 Claims to be resolved by the

Trust. It includes only the “proceeds” of Insurance Policies, and the right to sue non-settling

insurers for their conduct in handling claims, i.e., bad faith claims. Plan, Section 1.1(sss).



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          “Insurance Policies” are defined as “any contract, binder, certificate, or policy of

insurance in effect on or before the Effective Date issued to, allegedly issued to, or for the

benefit of the Archdiocese, or any of its predecessors in interest, successors or assigns, under

which coverage exists or may exist for a Tort Claim.” Plan, 1.1(nn). Assuming the Insurance

Policies provide coverage for the Tort Claims, that is not the only type of claim or liability that is

covered. Accordingly, Sections 1.1(sss), 5.2(e)(1), 6.1(a) and 6.1(b) purport to transfer insurance

proceeds paid for such non-Tort Claims to the Class 6 Claimants. However, as discussed above,

only the claimants for whose benefit such proceeds are paid have any right to such proceeds. As

a result, Sections 1.1(sss), 5.2(e)(1), 6.1(a) and 6.1(b) violate state law.

Objection--12. Sections 1.1(sss), 5.2(e)(1), 6.1(a) and 6.1(b) Violate 11 U.S.C. § 1129(a)(1),
               and 1123(a)(5)

          A. Pertinent Plan Provision(s). See Appendix Tab VII.

          B. Applicable Statute(s)

          11 U.S.C. § 1123(a)(5). See Objection 8, supra at page 13.

          C. Applicable Case law

          A Bankruptcy Court cannot divest a non-debtor assured of its interest under insurance

policies. See In re Forty-Eight Insulations, Inc., 133 B.R. 973 (N.D. Ill. 1991). The rights of a

non-debtor assured are separate contractual rights from those of a debtor. In re Petters Co., Inc.,

419 B.R. 369 (Bankr. D. Minn. 2009). The Court cannot impair or extinguish such rights.

Overton’s, Inc. v. Interstate Fire & Cas. Ins. Co. (In re Sportstuff, Inc.), 430 B.R. 170, 178

(B.A.P. 8th Cir. 2010).

          D. Argument

          Sections 1.1(sss), 5.2(e)(1), 6.1(a) and 6.1(b) provide for the assignment of the

Transferred Insurance Interests to the Trust. The Transferred Insurance Interests include “the


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proceeds of such Insurance Policies”. Plan, Section 1.1(sss)(i). “Insurance Policies” are defined

as “any contract, binder, certificate, or policy of insurance in effect on or before the Effective

Date issued to, allegedly issued to, or for the benefit of the Archdiocese, or any of its

predecessors in interest, successors or assigns, under which coverage exists or may exist for a

Tort Claim.” Plan, 1.1(nn). That definition includes the insurance policies subscribed by LMI

(“LMI Policies”). The LMI Policies not only provide coverage to the Debtor, but they also

provide coverage to non-debtors, e.g., the Parishes.

          Proceeds of the LMI Policies come into existence when LMI indemnify a non-debtor

assured.        The Plan purports to transfer those proceeds to the Trust, even though only the

respective assured Parish would have had a right to such proceeds, and neither the Debtor nor the

Class 6 Claimants would have an exclusive right to such proceeds. Because such proceeds

cannot be assigned to the Trust, the Plan does not provide adequate means for its

implementation, which violates 11 U.S.C. § 1123(a)(5).

Objection--13. Withdrawn.



Objection--14. Withdrawn



Objection--15. Section 4.3 Violates Applicable State Law

          A. Pertinent Plan Provision(s). See Appendix Tab VIII.

          B. Applicable Statute(s)

          N/A.




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          C. Applicable Case law

          Excess indemnity policies, such as those subscribed by LMI, do not have a duty to defend

and they reimburse covered loss only after there is a finding the loss is covered. Save Mart

Supermarkets v. Underwriters at Lloyd’s London, 843 F. Supp. 597, 603-604 (N.D. Cal. 1994);

See also Diocese of Winona, et. al. v. Interstate Fire & Cas. Co., et. al., 89 F.3d 1386, 1397 and

notes 13 and 14 (8th Cir. 1996).       An indemnity contract only covers the insured's actual

payments. See Conoco, Inc. v. Republic Ins. Co., 819 F.2d 120 (5th Cir. 1987).

          Insurance policies often have policy conditions precedent to coverage. These can include

requirements that: claims be defended; loss or settlement amounts be paid; the insured utilize a

third party administrator for claims handling; the insured cooperate with the insurer; and, the

insured permit the insurer to associate in the defense. See State Nat. Ins. Co. v. County of

Camden, No. 08-5128(NLH)(AMD), 2012 WL 6652819, *4-*5 (D.N.J. Dec. 19, 2012). The

Minnesota courts have examined conditions precedent to coverage and found that an insured’s

failure to comply with such conditions excuses the insurer from its coverage obligations. See

Food Mkt. Merch., Inc. v. Scottsdale Indem. Co., 196 F. Supp. 3d 1004, 1007-09 (D. Minn.

2016), aff’d, No. 16-3427, 2017 U.S. App. LEXIS 9089 (8th Cir. May 25, 2017).

          See the cases cited in Objection 12, supra, regarding the Bankruptcy Court’s lack of

authority to divest non-debtors from their interests under insurance policies.

          Under 11 U.S.C. § 541(d), a debtor’s estate includes property as to which the debtor

holds only legal title, “but not to the extent of any equitable interest in such property that the

debtor does not hold”. This limitation excludes from property of the debtor’s estate, property of

others held in trust by the debtor. United States v. Whiting Pools, Inc., 462 U.S. 198, 205 n. 10,

103 S. Ct. 2309, 76 L. Ed. 2d 515 (1983).



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          D. Argument

          Section 4.3 of the Plan violates state law because it (1) deprives non-debtor assureds of

their property rights in the GIF Fund, and (2) increases the risks that Certain Insurers agreed to

insure by eliminating policy requirements, including those assumed by the Archdiocese as a self-

insured.

                1. The GIF Program

          The Archdiocese created the Self-Insurance Program on September 1, 1980, to allow it

and the related non-debtor Catholic entities (collectively, “Participating Entities”) to obtain

insurance coverage at a lower cost.        See Notice of Hearing and Verified Motion of the

Archdiocese of St. Paul and Minneapolis for Order (1) Granting Expedited Relief and (2)

Authorizing Maintenance of Protected Self-Insurance Program, ECF No. 11, filed January 16,

2015, ¶¶15-16. The losses covered by the Self-Insurance Program are subject to retentions paid

by the Participating Entities, primarily from the GIF Fund. Id. Once the retained losses are paid,

excess losses are covered by excess insurance policies, subject to such policies’ terms. Id.

Funds to pay the retention amounts and the premiums for the excess policies were collected from

the Participating Entities and deposited into the GIF Fund. Id. at ¶¶16-17. The collected funds

are held for the benefit of the Participating Entities and the majority of the contributions were

from non-debtor Catholic entities. 3 The Debtor may not use the money in the GIF Fund unless it


3
        See Notice of Hearing and Expedited Motion for an Order Authorizing Settlement of a
Dispute, ECF No. 191, ¶17; Response of the Official Parish Committee of Unsecured Creditors
to the Motion of the Debtor for an Order Authorizing Use of Property Outside the Ordinary
Course of Business (GIF), ECF No. 510, filed December 10, 2015; Response of the Church of
St. Patrick of Edina, Minnesota to Debtor Motion for an Order Authorizing Settlement of a
Dispute, ECF No. 202, filed April 29, 2015 at 2; The Church of Saint Anne-Saint Josphien’s
Response to Debtor's Expedited Motion for an Order Authorizing Settlement of a Dispute, ECF
No. 513, filed December 11, 2015, ¶¶5-6).


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has the consent of each of the Participating Entities. See Objection of St. Stephen’s Catholic

Church and School, et. al., to the Motion of the Debtor for an Order Authorizing Use of Property

Outside the Ordinary Course of Business (GIF), ECF No. 514, filed December 11, 2015, at 2.

The GIF Fund has been used to pay abuse claims. ECF No. 11 at ¶19. 4

                2. The LMI Package Policies

          The Archdiocese replaced standard Comprehensive General Liability policies on

September 1, 1980 with a Protected Self-Insurance Program. Diocese of Winona, 89 F.3d at

1389-90; see also Argument D.1. The GIF Program, supra at pages 19-20. Under the Self-

Insurance Program, the Archdiocese served as a self-insurer up to $100,000 per occurrence, this

feature is known as “self-insured retention,” or “SIR”. Diocese of Winona, 89 F.3d at 1389-90.

The Archdiocese purchased two layers of insurance for losses in excess of the SIR. LMI

severally subscribed to the first layer, with a limit of $100,000 per occurrence (“LMI Package

Policies”), and Interstate provided the next layer. Id. at 1390. The LMI Package Policies

continued to September 1, 1986, when they specifically excluded coverage for sexual abuse. Id.

The LMI Package Policy limits and the SIRs were written on an ultimate net loss basis inclusive

of defense costs, and therefore, the limits erode as defense costs are incurred. Id. at 1397.

          The LMI Package Policies provided coverage to the Participants in the Self Insurance

program, which included the Archdiocese and its Parishes and other entities. See Argument D.1.

The GIF Program, supra at pages 19-20. 5 The Assureds under the LMI Package Policies, who


4
       See also ECF No. 191 at ¶¶12-14; Stipulation and Agreement for Use of General
Insurance Fund, ECF No. 191-1, filed April 15, 2015; Notice of Hearing and Motion of the
Archdiocese of St. Paul and Minneapolis for an Order Authorizing Use of Property Outside the
Ordinary Course of Business (GIF), ECF No. 483, filed November 25, 2015, ¶¶8-11,15-16.
5
       The LMI Package Policies provide coverage to the Named Assured Archdiocese of St.
Paul and Minneapolis and its “Parishes, Schools, Cemeteries and Other Agencies or directly
connected organizations… and [a]ny official, trustee or employee of the Named Assured while

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are the Participating Entities in the Self-Insurance Program, utilize the GIF Fund (and any

additional amounts required) to satisfy defense obligations and to pay covered loss under the

LMI Package Policies, up to the SIR amounts. Id; see also Diocese of Winona, 89 F.3d at 1390.

The LMI Package Policies provide excess, indemnity coverage only, and do not require LMI to

defend or settle claims. See generally Diocese of Winona, 89 F.3d at 1398 and note 13. 6 Under

the Package Policies, LMI reimburse a Participating Entity only after a claim is resolved, after

any ultimate net loss is paid by a Participating Entity, and after coverage has been determined.

Id.

                3. The Plan Deprives the Participating Entities of Their Separate Property and
                   LMI of Their Rights under the LMI Package Policies

          Section 4.3 of the Plan contemplates that most of the GIF Fund will be transferred to the

Trust (less a $1 million reserve). Id. This violates the terms of the agreement between the

Archdiocese and other Participating Entities. This also violates state law because the GIF Fund

is not exclusively the property of the Debtor, but instead is the property of the Participating

Entities (of which the Debtor is just one).       This proposed treatment strips the non-debtor

Participating Entities of their property. The non-debtor Participating Entities face state court

lawsuits filed by the same claimants who filed Proofs of Claim in this case. These non-debtors

expect to utilize the GIF Fund to satisfy SIR obligations as well as proceeds from the LMI

Package Policies to defend against and resolve these state court lawsuits to the extent they are

covered under the policies.


acting within the scope of his duties as such . . ..” They also provide that “The inclusion
hereunder of more than one Assured shall not operate to increase Underwriters’ Limits of
Liability”.
6
       The LMI Policies require the Participating Entities to utilize a service organization, at the
Assured's expense, to "discharge the Assured's obligations under the terms of [the policies] by
administering a complete claims handling program" and to maintain and furnish records to LMI.

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          Section 4.3 also violates the terms of the LMI Package Policies. The GIF Funds exist, in

part, to meet the contractual obligations that the Participating Entities have under the LMI

Policies. These obligations include, but are not limited to: paying the SIRs; utilizing a service

organization; defending and settling claims; cooperating with the excess insurers; and resolving

claims and obtaining a determination of coverage before seeking excess indemnity coverage. By

transferring the majority of the GIF Fund to the Trust, the Participating Entities will no longer be

able to satisfy their conditions precedent to obtaining coverage under the LMI Package Policies,

thereby vitiating LMI’s coverage obligations under such policies.

          It appears that the Plan is, among other things, an attempt to force LMI to pay claims

without the SIRs being exhausted, and to face liability for claims without complete claims

handling, and where a defense is, at best, a second thought and subject to conflicts of interest.

This would be in violation of the terms of the LMI Package Policies. This effort is clearly

contradicted by Sections 6.3(a)(1) and 6.3(d), which purport to make the Plan absolutely neutral

with respect to LMI.

Objection--16. Section 4.3 Violates the Due Process Clause of the U.S. Constitution

          A. Pertinent Plan Provision(s). See Appendix Tab IX.

          B. Applicable Statute(s) and Constitutional Provision(s)

          U.S. Constitution, Amendment XIV, Section 1

          … nor shall any state deprive any person of life, liberty, or property, without due
          process of law; nor deny to any person within its jurisdiction the equal protection
          of the laws.

          U.S. Constitution, Amendment V

          . . . nor shall private property be taken for public use, without just compensation.

          Fed. R. Bankr. P. 7001(2)



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          An adversary proceeding is governed by the rules of this Part VII. The following
          are adversary proceedings: … (2) a proceeding to determine the validity, priority,
          or extent of a lien or other interest in property …

          C. Applicable Case law

          The “Takings Clause prevents the Legislature … from depriving private persons of

vested property rights except for a ‘public use’ and upon payment of ‘just compensation.’”

Landgraf v. Usi Film Prods., 511 U.S. 244, 266 (1994). See also Horne v. Dep’t of Agric., 135

S. Ct. 2419, 2425 (2015) (holding that the Takings Clause applies to personal property).

“[W]here the Rules require an adversary proceeding -- which entails a fundamentally different,

and heightened, level of procedural protections -- to resolve a particular issue, a creditor has the

due process right not to have that issue resolved without one. SLW Capital, LLC v. Mansaray-

Ruffin (In re Mansaray-Ruffin), 530 F.3d 230, 242 (3d Cir. 2008); see also In re Banks, 241 B.R.

434, 436 (Bankr. E.D. Ark. 1999).

          D. Argument

          Here, to divest the Parishes of their property interest in the GIF Fund, the Plan must

provide for such divestment only after a successful suit has been brought under Bankruptcy Rule

7001(2). The GIF Fund was established to, among other things, pay self-insured retentions to

satisfy the Participating Entities’ defense obligations under the LMI Policies. See Verified

Motion of the Archdiocese of Saint Paul and Minneapolis for Order (1) Granting Expedited

Relief and (2) Authorizing Maintenance of Protected Self Insurance Program, ECF No. 11, Filed

January 16, 2015, at 5-6. The GIF Fund was funded by payments from both the Debtor and the

Parishes. Id. The Parishes hold the equitable interest in the GIF Fund. Id. The Debtor holds

mere legal title as trustee. Thus, the funds are not property of the estate. 11 U.S.C. § 541(d).

However, under the Committee Plan, the GIF Fund will be assigned to the Trust and used to pay



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claims. Trust Agreement, Section 2.1. This taking violates the Takings Clause and the Due

Process Clause of the U.S. Constitution for two reasons. First, the Parishes have not been

provided with the opportunity to litigate their interests in the GIF Fund by an adversary

proceeding. Second, the Parishes are not being provided with any compensation for the Plan’s

attempted confiscation of the $5,000,000 to be paid from the GIF Fund to the Trust. The Plan

provides only that the Parishes’ rights in the GIF Fund will be compensated by being replaced

with claims against the insolvent, Reorganized Debtor. Plan, Section 4.3. Thus the Committee

Plan violates the Fifth and Fourteenth Amendments to the U.S. Constitution.

Objection--17. Sections 4.15 and 4.16 violate 11 U.S.C. §§ 1129(a)(3) and (a)(7)

          A. Pertinent Plan Provision(s). See Appendix Tab X.

          B. Applicable Statute(s)

          11 U.S.C. § 726. See Objection 6, supra at page 11.

          11 U.S.C. § 1129(a)(7). See Objection 6, supra at page 11.

          C. Applicable Case law

          See Objection 6, supra at page 11 for the pertinent case law under 11 U.S.C. §§ 726 and

1129(a)(7).

          D. Argument

          Under the Plan, the Class 15 and 16 claims are unsecured claims. Under 11 U.S.C. §

726. Class 6 also comprises unsecured claims. Because Classes, 6, 15, and 16 claims all have

similar legal priority, none of these classes would be entitled to be paid a higher percentage in a

chapter 7. However, under the Plan, Class 15 and 16 claims receive nothing, while Class 6

claims are paid. Thus, the Committee Plan has a payment scheme different to that set forth in 11

U.S.C. § 726. That difference violates 11 U.S.C. § 1129(a)(7).



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Objection--18. Sections 4.15 and 4.16 Violate RFRA Because They Purport to Interfere
               with the Debtor’s Determinations About How to Compensate Its
               Employees Who Have Claims in Classes 15 and 16.

          A. Pertinent Plan Provisions. See Appendix Tab X.

          B. Applicable Statutes

          11 U.S.C. § 1129(a)(3). See Objection 3, supra at page 4.

          RFRA. See Objection 5, supra at page 7.

          C. Applicable Case law

          See Objection 5, supra at pages 8-10 for a discussion of the pertinent case law under

RFRA. There is no authority for a plan to deprive priests of agreed compensation when there has

been no finding that the priest is an actual abuser. Martin v. Catholic Diocese of Wilmington,

Inc. (In re Catholic Diocese of Wilmington, Inc.), 484 B.R. 629 (D. Del. 2012).

          D. Argument

          Sections 4.15 and 4.16 set forth the treatment for Class 15 Claimants (Non-Credibly

Accused Priests) and Class 16 Claimants (Credibly Accused Priests), all of whom are either

active or inactive employees of the Debtor. Under Section 4.15(b), the Debtor is compelled to

disclaim any liability under civil law for Class 15 Claims and the Reorganized Debtor is

obligated to honor its post-Effective Date obligations in accordance with the Debtor’s prior

practices. Likewise, under Section 4.16(b), the Debtor is precluded from making all payments

due to Class 16 Claimants and the Reorganized Debtor is precluded from making all future

payments that are to become due to Class 16 Claimants and both entities are required to turn said

funds over to the Trust instead.

          Forcing the Debtor and Reorganized Debtor to (i) withhold compensation from their

active and inactive employees and (ii) turn said funds over to the Trust would substantially



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burden the Debtor’s exercise of its religion and the Reorganized Debtor’s exercise of its religion.

It would be flatly contrary to Young I and Young II as it would allow the Committee to utilize the

Bankruptcy Code to regulate how the Debtor operates and whether it compensates its employees.

Based on the foregoing, Sections 4.15 and 4.16 violate RFRA.

Objection--19. Section 6.3(a)(1) Violates 11 U.S.C. § 1129(a)(3)

          A. Pertinent Plan Provision(s). See Appendix Tab XI.

          B. Applicable Statute(s)

          11 U.S.C. § 1129(a)(3). See Objection 3, supra at page 4.

          C. Applicable Case law

          See Objection 3, supra at pages 4-5 for a discussion of the pertinent case law under 11

U.S.C. § 1129(a)(3).

          D. Argument

          Section 6.3(a)(1) violates 11 U.S.C. § 1129(a)(3) because it does not serve Bankruptcy

Code objectives. Instead of limiting the Debtor’s liability to payments made by the Trust,

Section 6.3(e) specifies that Trust payments do not affect the Debtor’s liability. Thus, even

though the value of all of the Debtor’s assets are to paid into the Trust, Plan, Section 5.2(b), none

of those assets reduce the Debtor’s liability. These requirements are contrary to the purpose of

giving the Debtor a fresh start, which is at the core of chapter 11 reorganizations. Section

6.3(a)(1) is thus in bad faith and violates 11 U.S.C. § 1129(a)(3).

Objection--20. Sections 4.6 and 4.7 Violate 11 U.S.C. § 1129(a)(3).

          A. Pertinent Plan Provision(s). See Appendix Tab XII.

          B. Applicable Statute(s)

          11 U.S.C. § 1129(a)(3). See Objection 3, supra.



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          C. Applicable Case law

          See Objection 3, supra at pages 4-5 for a discussion of the pertinent case law under 11

U.S.C. § 1129(a)(3).

          D. Argument

          Sections 4.6 and 4.7 were not proposed in good faith, as they seek to benefit only the

lawyers for Class 6 and Class 7 claimants to the detriment of the Debtor, the Reorganized

Debtor, and all other creditors. Sections 4.6 and 4.7 authorize all Tort Claimants to sue the

Reorganized Debtor in state court for Tort Claims against the Debtor.            This defeats the

cornerstone of chapter 11, providing a debtor with a fresh start, and is far from fair or just.

Sections 4.6 and 4.7 do not seek to expeditiously pay the Tort Claims. Instead, they will cause

an increase in the litigation that was underway pre-bankruptcy to the benefit of the claimants’

lawyers. Accordingly, Sections 4.6 and 4.7 violate 11 U.S.C. § 1129(a)(3).

Objection--21. Section 4.6 Violates 11 U.S.C. § 1129(a)(3).

          A. Pertinent Plan Provision(s). See Appendix Tab XI.

          B. Applicable Statute(s)

          11 U.S.C. § 1129(a)(3). See Objection 3, supra at page 4.

          C. Applicable Case law

          See Objection 3, supra at pages 4-5 for a discussion of the pertinent case law under 11

U.S.C. § 1129(a)(3).

          D. Argument

          Sections 4.6 was not proposed in good faith, because it does not maximize the property

available to creditors and hinders the Debtor from obtaining a fresh start. This section authorizes

the Tort Claimants to sue the Reorganized Debtor for Tort Claims after confirmation, and



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requires the Trust to indemnify the Reorganized Debtor for the costs of defending such Tort

Claims. If, instead, the liability for the Tort Claims were channeled to the Trust for assessment

and payment and the Debtor were discharged at confirmation, then using insurance money for

defense costs, instead of indemnity, would be unnecessary. Such funds could instead be used to

indemnify the Tort Claimants. The only apparent purpose for Section 4.6 is to increase the fees

paid to the Tort Claimants’ lawyers. Based on the foregoing, Section 4.6 violates 11 U.S.C.

§ 1129(a)(3).

Objection--22. Sections 4.6 and 6.2 Violate 11 U.S.C. § 1129(a)(3) Because There Is No
               Bankruptcy Purpose in Allowing the Class 6 Claimants to Be Paid by the
               Trust and to Also Litigate Their Claims Against the Reorganized Debtor
               Post-Effective Date.

          A. Pertinent Plan Provision(s). See Appendix Tab XIII.

          B. Applicable Statute(s)

          11 U.S.C. 1129(a)(3). See Objection 3, supra at page 4.

          C. Applicable Case law

          See Objection 3, supra at pages 4-5 for a discussion of the pertinent case law under 11

U.S.C. § 1129(a)(3).

          D. Argument

          Sections 4.6 and 6.2 were not proposed in good faith, because they would deprive the

Reorganized Debtor of its fresh start. Pursuant to Sections 4.6 and 6.2, Class 6 Claimants are

entitled to receive a payment from the Trust on account of their Class 6 Claim and also permitted

to sue the Reorganized Debtor on account of the same claim post-Effective Date. Further, if a

Class 6 Claimant obtains a recovery in state court, the Class 6 Claimant keeps just a percentage

of the recovery but the claimants’ lawyers are fully compensated for their attorneys’ fees and

costs.


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          The dual recovery system that would be established under the Plan defeats the

cornerstone of chapter 11 by preventing the Reorganized Debtor from obtaining a fresh start.

First, the dual recovery system is unnecessary; instead, all Class 6 Claims (and Class 7 Claims)

should either be allowed to pursue their state court claims or be satisfied pursuant to the terms of

the Trust – not both. Second, the dual recovery system not only authorizes, but also encourages,

lawyers for the Tort Claimants to initiate a lawsuit. Conversely, if the Claimants were required

to choose their remedy, either (a) a quick payment by the Trust, or (b) extended civil litigation,

the litigation would be drastically reduced, thereby reducing the need to pay attorneys’ fees and

costs incurred by Tort Claimants and any defense costs associated therewith at the expense of the

Tort Claimants.

          Based on the foregoing, Sections 4.6 and 6.2 of the Committee Plan violate 11 U.S.C.

§ 1129(a)(3).

Objection--23. Section 5.2(b) Violates the First Amendment, 11 U.S.C. §§ 1123(a)(5),
               1129(a)(11), 1129(a)(16) and RFRA

          A. Pertinent Plan Provision(s). See Appendix Tab III.

          B. Applicable Statute(s) and Constitutional Provision(s)

          11 U.S.C. § 1123(a)(5). See Objection 8, supra at page 13.

          11 U.S.C. § 1129(a)(11). See Objection 3, supra at page 4.

          11 U.S.C. § 1129(a)(16)

          (a) The court shall confirm a plan only if all of the following requirements are
          met… (16) All transfers of property under the plan shall be made in accordance
          with any applicable provisions of nonbankruptcy law that govern the transfer of
          property by a corporation or trust that is not a moneyed, business, or commercial
          corporation or trust.

          Amendment I

          See Objection 5, supra at page 7.



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          RFRA

          See Objection 5, supra at page 7.

          Minn. Stat. § 315.12

          . . . by and through its trustees, [a religious corporation] may sell and convey,
          encumber, or otherwise dispose of real estate. To do so, the trustees must first be
          authorized by resolution of the society adopted by a two-thirds vote of the
          members present and voting at a meeting called for that purpose.

          C. Applicable Case law

          See Objections 3, 5, 8, supra, at pages 4-5, 8-10, 13, for a discussion of the pertinent case

law.

          D. Argument

          Section 5.2(b) contemplates that the Debtor will sell or encumber its property to liquidate

the value of its assets. This provision violates 11 U.S.C. § 1129(a)(16) because the Debtor is

organized as a religious Diocesan Corporation under Minnesota Stat. 315.16. See Affidavit of

the Very Reverend Father Charles V. Lachowitzer Regarding Structure and Pre-Filing History of

Debtor and in Support of Chapter 11 Petition and First Day Pleadings at 5, ECF No. 22 at 5.

Because the Committee Plan would obligate the Debtor to sell such property without first

obtaining the approval required by Minn. Stat. 315.12, it violates 11 U.S.C. § 1129(a)(16).

          In addition, because the Plan contemplates a method for its implementation that cannot

occur without the Debtor’s cooperation, which it does not have, it violates 11 U.S.C.

§ 1123(a)(5).     Because the Committee cannot show that its Plan is feasible without such

unobtainable cooperation, the Plan also violates 11 U.S.C. § 1129(a)(11).

          Moreover, the Plan, by requiring the Debtor to sell or encumber property without

providing for the trustee approval required by Minn. Stat. § 315.12, places a substantial burden

on how the Debtor chooses to exercise its religion, violating the First Amendment and RFRA.


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Objection--24. Sections 4.6, 6.2 and Exhibit E Violate 11 U.S.C. §§ 101(5), 1129 (a)(3),
               1129(a)(7) and 502

          A. Pertinent Plan Provision(s). See Appendix Tab XIV.

          B. Applicable Statute(s)

          11 U.S.C. § 101

          In this title the following definitions shall apply…(5)“The term “claim” means—
          (A) right to payment, whether or not such right is reduced to judgment, liquidated,
          unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,
          equitable, secured, or unsecured; or (B) right to an equitable remedy for breach of
          performance if such breach gives rise to a right to payment, whether or not such
          right to an equitable remedy is reduced to judgment, fixed, contingent, matured,
          unmatured, disputed, undisputed, secured, or unsecured…(10) The term
          “creditor” means— (A) entity that has a claim against the debtor that arose at the
          time of or before the order for relief concerning the debtor …

          11 U.S.C. § 1129(a)(3)         See Objection 3, supra at page 4.

          11 U.S.C. §1129(a)(7)          See Objection 6, supra at page 10.

          11 U.S.C. § 502

          (a) A claim or interest, proof of which is filed under section 501 of this title, is
          deemed allowed, unless a party in interest, including a creditor of a general
          partner in a partnership that is a debtor in a case under chapter 7 of this title,
          objects.

          (b) Except as provided in subsections (e)(2), (f), (g), (h) and (i) of this section, if
          such objection to a claim is made, the court, after notice and a hearing, shall
          determine the amount of such claim in lawful currency of the United States as of
          the date of the filing of the petition, and shall allow such claim in such amount,
          except to the extent that—

                 (1) such claim is unenforceable against the debtor and property of the
          debtor, under any agreement or applicable law for a reason other than because
          such claim is contingent or unmatured…

          Minnesota Rules of Professional Conduct 1.7

          (a) Except as provided in paragraph (b), a lawyer shall not represent a client if the
          representation involves a concurrent conflict of interest. A concurrent conflict of
          interest exists if: (1) the representation of one client will be directly adverse to
          another client…


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          C. Applicable Case law

          See Objection 3, supra at pages 4-5 for a discussion of the pertinent case law under 11

U.S.C. § 1129(a)(3).      See Objection 6, supra at pages 11-12 for a discussion of the pertinent

case law under 11 U.S.C. § 1129(a)(7).

          “Of course, the classification and treatment of classes of claims is always subject to the

good faith requirements under § 1129(a)(3).” In re Greate Bay Hotel & Casino, Inc., 251 B.R.

213, 240 (Bankr. D.N.J. 2000). “In essence, the good faith inquiry looks at the debtor’s fairness

in dealing with creditors.” Barger v. Hayes Cnty. Non-stock Co-op (In re Barger), 233 B.R. 80,

83 (B.A.P. 8th Cir. 1999).

          D. Argument

          The Plan is unfair to persons who have a right to payment, i.e., creditors. Sections 4.6

and 6.2 work together to ensure that all persons who filed Tort Claims are paid, regardless of

merit. Neither provision requires that only a Tort Claimant who has a right to payment under

state law is paid. These provisions are contrary to the requirements of 11 U.S.C. § 101(5) and

502(b), because they provide for payments to claimants who do not have a right to payment

under applicable state law. Moreover, these provisions violate the good faith requirements of 11

U.S.C. § 1129(a)(3) because they operate against maximizing assets for legitimate creditors.

Instead, all persons who filed a proof of claim, regardless of whether they have a right to

payment, will take a share of the Trust assets, thereby depriving creditors with an actual right to

payment of their full share of the Trust’s funds.

          Moreover, in such a situation, the representation by a lawyer of both (i) persons who have

a right to payment under a limited fund and (ii) persons who do not have a right to payment

under a limited fund represents a conflict of interest under the Minnesota Rules of Professional


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Conduct. When there is a limited fund to pay claimants, the filing and pursuit of a claim on

behalf of a client who does not have a right to payment necessarily reduces the payment to a

client who does have a right to payment.

Objection--25. Sections 6.2(a), 6.2(c), and 16.20 Violate 11 U.S.C. §§ 1129(a)(1) and
               1141(a)

          A. Pertinent Plan Provision(s). See Appendix Tab XV.

          B. Applicable Statute(s)

          11 U.S.C. §§ 1129(a)(1). See Objection 1, supra at page 2.

          11 U.S.C. § 1141(a)

          (a) …the provisions of a confirmed plan bind the debtor, any entity issuing
          securities under the plan, any entity acquiring property under the plan, and any
          creditor, equity security holder, or general partner in the debtor, whether or not
          the claim or interest of such creditor, equity security holder, or general partner is
          impaired under the plan and whether or not such creditor, equity security holder,
          or general partner has accepted the plan.

          C. Applicable Case law

          “Section 1141(a) simply lists the parties that are bound by a confirmation order.” Finova

Capital Corp. v. Larson Pharmacy Inc. (In re Optical Techs., Inc.), 425 F.3d 1294, 1302 n.8

(11th Cir. 2005); Paul v. Monts, 906 F.2d 1468, 1471 (10th Cir. 1990) (parties not listed in 11

U.S.C. § 1141(a) are not bound by a confirmation order). There is only one exception to the rule

that 11 U.S.C. § 1141(a) describes the universe of parties that can be bound by a plan.           In re

WorldCom, Inc., 401 B.R. 637, 647 (Bankr. S.D.N.Y. 2009). “Such exception is when an

individual or entity appears and participates in litigation regarding an issue dealt with by a

confirmed plan or confirmation Order….” Id., quoting Dycoal, Inc. v. IRS (In re Dycoal, Inc.),

327 B.R. 220, 223 (Bankr. W.D. Pa. 2005).




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          D. Argument

          11 U.S.C. § 1141(a) identifies which parties are bound by a confirmed plan. A debtor’s

insurers are not one of the entities identified in 11 U.S.C. § 1141(a). However, Section 16.20

provides that “[t]he rights, benefits, and obligations of any entity named or referred to in this

Plan shall be binding on, and shall inure to the benefit of, any heir, executor, administrator

successor, or assign of such entity.” The Non-Settling Insurers are referenced throughout the

Committee Plan. See, e.g., 6.1(c). Thus, Section 16.20 violates 11 U.S.C. § 1141(a) because it

seeks to bind the Non-Settling Insurers even though such entities are not named in 11 U.S.C.

§ 1141(a), and even if such entities have not litigated issues relating to confirmation of the

Committee Plan. As a result, Section 16.20 violates 11 U.S.C. §§ 1129(a)(1) and 1141(a).

Objection--26. Section 6.1(b)(2) Violates Applicable State Law.

          A. Pertinent Plan Provision(s). See Appendix Tab VI.

          B. Applicable Statute(s)

          11 U.S.C. § 1129(a)(3). See Objection 3, supra at page 4.

          C. Applicable Case law

          N/A.

          D. Argument

          Section 6.1(b)(2) specifies that, after the assignment of insurance policies to the Trust, the

Trust shall have the right to obtain insurance coverage for the Debtor’s liability for “claims”.

Under applicable state law and the Certain Insurers’ policies, there is no insurance coverage for

“claims”; coverage exists to indemnify only against judgments and reasonable settlements with

the insurers’ consent, and only after a final judgment finding such coverage exists. This Section

wrongly expands insurers’ burdens under such insurance policies.



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          In addition, Section 6.1(b)(2) specifies: “No limitations on recovery from Non-Settling

Insurers shall be imposed by … any distribution from the Trust to any Class 6 claimant.” This

provision violates the LMI Policies because it allows Class 6 Claimants to obtain a double

recovery on their claim. Should a claimant be paid $500,000 by the Trust, and then bring a

direct action against a Non-Settling Insurer for $5,000,000, the Non-Settling Insurer would be

unable, as a consequence of Section 6.1(b)(2), to raise as a partial defense that the claimant had

already been paid $500,000. There is no support for such a scheme under the Bankruptcy Code,

and such scheme is contrary to applicable state law on indemnity insurance.

Objection--27. Section 6.1(b)(4) Violates Applicable State Law

          A. Pertinent Plan Provision(s). See Appendix Tab XVI.

          B. Applicable Statute(s)

          N/A.

          C. Applicable Case law

          A debtor’s estate succeeds to only such title and rights as the debtor had when the petition

for bankruptcy was filed. In re Schauer, 835 F.2d 1222, 1225 (8th Cir. 1987). “State law defines

the debtor’s interest in property which becomes part of the bankruptcy estate.” Schauer, 835 F.2d

at 1225. In Gopher Oil Co. v. America Hardware Mut. Ins. Co., 588 N.W.2d 756 (Minn. App.

1999), the Minnesota Court of Appeal noted that “[a]n assignment of a loss does not expand the

risk to cover other activities; it only allows a change in the identity of the insured to reconnect

the policy’s coverage to the insured loss.” Id., n. 3.         Thus, the duties of an assured and

satisfaction of conditions precedent to coverage applicable to an assured apply to any assignee

after an assignment.




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          D. Argument

          Section 6.1 assigns the Transferred Insurance Interests to the Trust.    However, the

Transferred Insurance Interests do not constitute of pot of cash from which the Trust can make

withdrawals as it sees fit. Coverage for abuse claims under the Insurers’ policies is contingent

upon the performance of conditions precedent, see Objection 15, supra, and other duties by the

assured. However, nothing in the Plan requires the Trust to perform the duties of an insured

under the Insurers’ policies. In essence, then, the Plan seeks to confer on the Trust the benefits

of coverage under the Insurers’ policies without requiring the Trust to fulfill the conditions

precedent to obtaining such coverage. Under applicable state law no assignment can have such

effect. Hence, the Plan violates applicable state law.

Objection--28. Withdrawn.

Objection--29. Sections 6.1(c), 6.1(c)(1)(i) and 8.4 Violate RFRA

          A. Pertinent Plan Provision(s). See Appendix Tab XVII.

          B. Applicable Statute(s)

          RFRA. See Objection 5, supra at page 7.

          C. Applicable Case law

          See Objection 5, supra at pages 8-10 for a discussion of the pertinent case law under

RFRA.

          D. Argument

          The Plan (a) appoints the Trustee as the representative of the Reorganized Debtor with

respect to the insurance policies and (b) requires the Reorganized Debtor to allow suits to be

filed in its name, thereby interfering in the Debtor’s conduct of its religious mission. Such

interference imposes a substantial burden on the Debtor, and violates RFRA.



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Objection--30. Section 8.4(b)(3) Violates RFRA.

          A. Pertinent Plan Provision(s). See Appendix Tab XVIII.

          B. Applicable Statute(s)

          RFRA. See Objection 5, supra at page 7.

          U.S. Constitution, Amendment I. See Objection 5, supra at page 7.

          C. Applicable Case law

          See Objection 5, supra at pages 8-10, for a discussion of the pertinent case law under 11

U.S.C. § 1129(a)(3) and RFRA

          D. Argument

          Section 8.4(a)(3) violates RFRA and the First Amendment because it interferes with the

Debtor’s free exercise of religion by imposing the substantial burden of allowing the Trustee to

collect assessments from the Parishes. Such assessments are not civil obligations that the Debtor

could collect as damages under a breach of contract claim. Rather, assessments are a duty

imposed by canon law and are part of the free exercise of religion under the First Amendment of

the U.S. Constitution and RFRA. Such assessments are paid only because that is the way the

Archdiocese and the Parishes choose to conduct their religious mission. By requiring that such

assessments be paid to the Trust instead of to the Archdiocese, the Plan imposes a substantial

burden on how the Debtor and the Parishes choose to practice their religious mission. Hence,

requiring that the Trust be paid on such assessments violates RFRA.

Objection--31. Section 15.3 Violates RFRA

          A. Pertinent Plan Provision(s). See Appendix Tab XIX.

          B. Applicable Statute(s)

          RFRA. See Objection 5, supra at page 10.



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          C. Applicable Case law

          See Objection 5, supra at pages 10-12, for a discussion of the pertinent case law under

RFRA.

          D. Argument

          Section 15.3 provides for the appointment of Members, directors, and officers of the

Debtor. However, given the controlling and persuasive case law cited in Objection 5, supra, the

Committee cannot use 11 U.S.C. § 1129(a)(5) to justify the appointment of the Members of the

Reorganized Debtor or the directors and officers of the Reorganized Debtor without violating

RFRA. Such matters are internal church decisions that affect the governance and mission of the

Debtor.

          Without such an appointment, the Plan cannot be confirmed because it does not comply

with 11 U.S.C. § 1129(a)(5).

Objection--32. Section 16.8(a) Violates Applicable Law Governing the Court’s Post-
               Confirmation Related-to Jurisdiction

          A. Pertinent Plan Provision(s). See Appendix Tab XX.

          B. Applicable Statute(s)

          28 U.S.C. § 157(b) (1)

          Bankruptcy judges may hear and determine all cases under title 11 and all core
          proceedings arising under title 11, or arising in a case under title 11, referred
          under subsection (a) of this section, and may enter appropriate orders and
          judgments, subject to review under section 158 of this title.

          28 U.S.C. § 1334(a), (b)

          (a) Except as provided in subsection (b) of this section, the district courts shall
          have original and exclusive jurisdiction of all cases under title 11.

          (b) Except as provided in subsection (e)(2), and notwithstanding any Act of
          Congress that confers exclusive jurisdiction on a court or courts other than the
          district courts, the district courts shall have original but not exclusive jurisdiction


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          of all civil proceedings arising under title 11, or arising in or related to cases
          under title 11….

          C. Applicable Case law

          “A bankruptcy court cannot establish jurisdiction merely by inserting [a provision to that

effect] into a confirmation order, [since it has] no power to reserve jurisdiction beyond what

Congress has given or what is necessary to effectuate the plan of reorganization.” Montana v.

Goldin (In re Pegasus Gold Corp.), 296 B.R. 227, 233 (D. Nev. 2003) (quotations omitted); see

also In re United States Brass Corp., 301 F.3d 296, 303 (5th Cir. 2002) (“The source of the

bankruptcy court’s subject matter jurisdiction is neither the Bankruptcy Code nor the express

terms of the Plan. The source of the bankruptcy court's jurisdiction is 28 U.S.C. §§ 1334 and

157”) (quotations omitted)).

          Ample case law has held that an insurance coverage dispute is a non-core, related-to

proceeding. See Daewoo Motor Am., Inc. v. Gulf Ins. Co. (In re Daewoo Motor Am., Inc.), 302

B.R. 308, 312 (C.D. Cal. 2003); G-I Holdings, Inc. v. Hartford Accident and Indem. Co. (In re

G-I Holdings, Inc.), 278 B.R. 376, 382 (Bankr. D.N.J. 2002); In re United States Brass Corp.,

110 F.3d 1261, 1268 (7th Cir. 1997); United States Lines, Inc. v. American S.S. Owners Mut.

Protection & Indem. Ass’n (In re United States Lines, Inc.), 197 F.3d 631, 638 (2d Cir. 1999)

(reasoning that the fact that the policies will augment the assets of the estate has an insufficient

effect on the administration of the estate to render the proceeding “core”).

          However, post-confirmation, a Bankruptcy Court’s related-to jurisdiction is narrowed.

“[A] bankruptcy court retains jurisdiction, even post-confirmation, ‘over aspects of a plan related

to its administration and interpretation.’” Greenpond South, LLC v. GE Capital Corp., 2015

U.S. Dist. LEXIS 5307 (D. Minn. Jan. 16, 2015) (citing In re Fairfield Cmtys., Inc., 142 F.3d at

1095. “The purpose of post-confirmation jurisdiction is essentially and necessarily limited to


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protecting the order confirming the plan and preventing interference with the execution of the

plan.” In re Jr. Food Mart, 161 B.R. 462, 463 (Bankr. E.D. Ark. 1993); see also In re Johns-

Manville Corp., 7 F.3d 32, 1993 U.S. App. LEXIS 25547 (2d Cir. 1993); In re Cary Metal

Products, Inc., 152 Bankr. 927 (Bankr. N.D. Ill. 1993)).

          D. Argument

          The post-confirmation jurisdiction contemplated by the Plan violates 28 U.S.C. §§ 157

and 1334, because it goes far beyond the mere interpretation of a plan or administration of the

estate. The Plan purports to extend the Court’s post-confirmation jurisdiction to “matters related

to the assets of the Estate or of the Trust, … or the recovery, liquidation, or abandonment of

Trust Assets”, Plan at 16.8(a)(6), and over “disputes regarding the Archdiocese’s, the Trustee’s,

or any Insurer’s rights and duties in connection with the defense of Litigation Claims under

Section 6.2(f)”, id. at (a)(18).    None of the above matters relates to the interpretation or

administration of the Plan. Quite the opposite, they all involve a determination of rights under

applicable state law, and such matters are outside the Court’s post-confirmation jurisdiction.

Accordingly, the Plan violates applicable law governing the Court’s post-confirmation related-to

jurisdiction.

                     Insurers Have Standing to Raise the Above Objections

          As set forth in Objections 9, 10, 11, 15, 22, 24, 25, 26, 27, and 32, above, Certain

Insurers’ rights would be affected were the Plan to be confirmed. As parties asked to pay claims

against the Archdiocese, insurers have broad standing to participate in the bankruptcy case. In re

Global Indus. Techs., 645 F.3d 201, 204 (3d Cir. 2011) (“when a federal court gives its approval

to a plan that allows a party to put its hands into other people's pockets, the ones with the pockets




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are entitled to be fully heard and to have their legitimate objections addressed. In short, they at

least have bankruptcy standing.”).

          Moreover, under the Archdiocese’s Plan, Certain Insurers are treated as settling insurers,

pay the agreed amounts under their respective settlements, and obtain releases from the

Archdiocese and/or the parishes, and are protected by the injunction in the Archdiocese’s Plan.

Under the Plan, Certain Insurers cannot settle, do not obtain releases, and are not protected by

any injunction. Thus, Certain Insurers have a strong interest in defeating confirmation of the

Plan.

          The Bankruptcy Code gives all parties in interest in chapter 11 cases the right to “raise

and be heard on” any issue in a case under this chapter. 11 U.S.C. § 1109(b). “The proper

construction of any statute, the Bankruptcy Code included, begins with the language of the

statute itself”. Hartford Underwriters Ins. Co. v. Magna Bank, N.A. (In re Hen House Interstate,

Inc.), 177 F.3d 719, 722 (8th Cir. 1999), aff’d sub nom., 530 U.S. 1, 120 S.Ct. 1942, 147 L.Ed.2d

1 (2000). “When the language of the Bankruptcy Code is clear and unambiguous, ‘our sole

function . . . is to enforce it according to its terms.’” Id. at 722-23 (quoting Rake v. Wade, 508

U.S. 464, 471, 113 S.Ct. 2187, 124 L.Ed.2d 424 (1993).

          Section 1109(b) is unambiguous. It clearly and expressly permits a party in interest to

raise and be heard on “any issue” in a chapter 11 case. 11 U.S.C. § 1109(b). Nothing in the

statute itself justifies any restriction on insurers’ unambiguous statutory right to participate fully

in this bankruptcy case. On the contrary, the “exact language” of § 1109(b) “grants a right to

appear and be heard not in ‘a case’ but ‘on any issue in a case.’” … The “issues” referred to in

§ 1109(b) occur in proceedings, which themselves occur in and constitute part of the

“case…”. Thus, Section 1109(b), by its terms, is to be read broadly so as to have the greatest



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possible reach. In re Amatex Corp., 755 F.2d 1034 (3d Cir. 1985). “We hold, therefore, that the

phrase “any issue in a case” plainly grants a right to raise, appear and be heard on any issue

regardless whether it arises in a contested matter or an adversary proceeding.” Term Loan

Holder Comm. v. Ozer Group, L.L.C. (In re The Caldor Corp.), 303 F.3d 161, 169 (2d Cir.

2002).

          “[T]he broad and absolute construction of section 1109(b) comports with the usual

expectation of parties in interest that they will have a right to be heard as parties in interest, by

the tribunal adjudicating their interests. This expectation has its roots in notions of due process

and fair play.” Official Unsecured Creditors’ Committee v. Michaels (in the Matter of Marin

Motor Oil, Inc.), 689 F.2d 445, 457 (3d Cir. 1982), cert. denied sub nom., 459 U.S. 1206

(1983). Due process rights, of course, extend to bankruptcy proceedings. See, e.g., In re

Combustion Eng’g, Inc., 391 F.3d 190, 245 n. 64 (3d Cir. 2004). “[D]ue process requires, at a

minimum…that persons forced to settle their claims of right and duty through the judicial

process must be given a meaningful opportunity to be heard… at a meaningful time and in a

meaningful manner.” Boddie v. Connecticut, 401 U.S. 371, 377-78; 91 S.Ct. 780, 28 L.Ed.2d

113 (1971).

          Without affording insurers an opportunity to be heard, this Court would be without

jurisdiction to affect their contractual rights. Windsor v. McVeigh, 93 U.S. 274, 277 (1876).

          Moreover, the trend for many years has been that insurers have broad standing in

bankruptcy court. See, e.g., Motor Vehicle Cas. Co. v. Thorpe Insulation Co. (In re Thorpe

Insulation Co.), 677 F.3d 869, 885-886 (9th Cir. 2012) (reversing a confirmation order that

followed a bankruptcy court ruling that insurers lacked standing to be heard at confirmation; the

Ninth Circuit found insurer standing where “the plan may economically affect [insurers] in



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substantial ways,” stating, “As a general matter, parties with potential responsibility to pay

claims against debtors regularly have standing to participate in bankruptcy cases”); Global Indus.

Techs., 645 F.3d at 211 (“Without a contrary signal from Congress, we will not read a provision

that confers a broad right of participation [11 U.S.C. § 1109(b)] to be a restriction on access to

bankruptcy proceedings.”); Baron & Budd, P.C. v. Unsecured Asbestos Claimants Comm., 321

B.R. 147, 158 (D.N.J. 2005) (“parties with potential responsibility to pay claims against debtors

regularly have standing to participate in bankruptcy cases.”) (citing In re Peter Del Grande

Corp., 138 B.R. 458, 459 (Bankr. D.N.J. 1992); In re Berkshire Foods, Inc., 302 B.R. 587, 588-

90 (Bankr. N.D. Ill. 2003); Marcus Hook Dev. Park, Inc., 153 B.R. 693, 700 (Bankr. W.D. Penn.

1993).

          Here, also, where Certain Insurers would be affected by the Plan, they have standing.

                                          CONCLUSION

          WHEREFORE, Certain Insurers respectfully request that the Court enter an Order

denying confirmation of the Committee Plan.


Dated: July 7, 2017                                 Respectfully submitted,

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                                        The Continental Insurance Company, as
                                        successor to the Fidelity and Casualty
                                        Company of New York, National Fire
                                        Insurance Company, and Continental
                                        Casualty Company




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                                        PROOF OF SERVICE

          I, Jeff D. Kahane, declare under penalty of perjury that on July 7, 2017, I caused the

foregoing document to be filed electronically with the Clerk of Court, and that a copy of the

above-referenced document was delivered to all parties who are Filing Users, by automatic email

notification pursuant to the Electronic Case Filing System, including all parties required to

receive service under Local Rule 9013-3(b), and this notice constitutes service pursuant to Local

Rule 9006-1(a).

Dated: July 7, 2017                                  Respectfully submitted,

                                                     By: /e/ Gerald H. Bren
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                                              APPENDIX

                                       Pertinent Plan Provisions



I.        Objection 1:

          Sections 1.1(sss), 3.1, 3.2, 4.3, 4.4, 4.5, 4.6, 4.7, 4.8, 4.9, 4.13, 4.14, 4.15, 4.16, 5.2(b),
          5.2(e)(1) 6.1(a), 6.1(b), 6.2(a), 6.2(c), 6.2(d), 6.2(f), 6.3(a)(1), 16.20.

These provisions are set out separately below.




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II.       Objections 2, 6, and 14:

          3.1 SUMMARY. The categories of claims listed below classify claims (except for
          Administrative Claims and Priority Tax Claims) for all purposes, including voting,
          confirmation of this Plan, and distribution pursuant to this Plan.

          CLASS            DESCRIPTION                          IMPAIRMENT   VOTING

          1                Priority Claim                       Unimpaired   No

          2                Governmental Unit Claims             Unimpaired   No

          3                General Insurance Fund               Unimpaired   No

          4                Archdiocese of Saint Paul and        Unimpaired
                           Minneapolis Priests’ Pension
                           Plan Claims

          5                Archdiocese of Saint Paul and        Unimpaired   No
                           Minneapolis Lay Employees’
                           Pension Plan Claims

          6                Pending Tort Claims                  Impaired     Yes

          7                Future Tort Claims                   Impaired     Yes

          8                Inter-Parish Loan Fund and           Unimpaired   No
                           Assessment Overpayment Claims

          9                Trade Vendors and          General   Unimpaired   No
                           Unsecured Creditors

          10               Secured Claim of Premier Bank        Unimpaired   No

          11               Guaranty Claims                      Unimpaired   No

          12               Other Tort Claims and Unsecured      Impaired     Yes
                           Claims

          13               Abuse       Related   Contingent     Unimpaired   No
                           Claims

          14               Archdiocese Medical and Dental       Unimpaired   No
                           Plan




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          15               Non-Credibly Accused       Priest   Unimpaired       No
                           Support Payments

          16               Credibly Accused Priest Support     Impaired         Yes
                           Payments



          4.13 ABUSE RELATED CONTINGENT CLAIMS (CLASS 13).

          (a) Definition. A “Class 13 Claim” means a claim for contribution, indemnity or
          reimbursement arising out of the Archdiocese’s liability to pay or defend against any
          Class 6 or Class 7 Claim and any entity subrogated to such claims.

          (b) Treatment. Class 13 Claims shall not receive or retain any property under this Plan
          in accordance with 11 U.S.C. §502(e).




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III.      Objection 3, 4, 5, and 23:

          5.2 FUNDING THIS PLAN.

          (b) Funding Options. Under this Plan, the Bankruptcy Court will determine the value of
          the Debtor's assets and the Debtor will then pay that value into the Trust. The Debtor may
          fund the Plan as it deems appropriate, whether through increases in Parish assessments,
          fundraising, loan financing and/or the sale of selected assets. …Thus, to permit the
          Debtor to contribute the liquidation value of all of its assets, in conformance with Section
          1129(a)(7) of the Bankruptcy Code.




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IV.       Objection 7:

          3.1 SUMMARY. The categories of claims listed below classify claims (except for
          Administrative Claims and Priority Tax Claims) for all purposes, including voting,
          confirmation of this Plan, and distribution pursuant to this Plan.

          CLASS           DESCRIPTION                          IMPAIRMENT   VOTING

          1               Priority Claim                       Unimpaired   No

          2               Governmental Unit Claims             Unimpaired   No

          3               General Insurance Fund               Unimpaired   No

          4               Archdiocese of Saint Paul and        Unimpaired
                          Minneapolis Priests’ Pension
                          Plan Claims

          5               Archdiocese of Saint Paul and        Unimpaired   No
                          Minneapolis Lay Employees’
                          Pension Plan Claims

          6               Pending Tort Claims                  Impaired     Yes

          7               Future Tort Claims                   Impaired     Yes

          8               Inter-Parish Loan Fund and           Unimpaired   No
                          Assessment Overpayment Claims

          9               Trade Vendors and          General   Unimpaired   No
                          Unsecured Creditors

          10              Secured Claim of Premier Bank        Unimpaired   No

          11              Guaranty Claims                      Unimpaired   No

          12              Other Tort Claims and Unsecured      Impaired     Yes
                          Claims

          13              Abuse      Related    Contingent     Unimpaired   No
                          Claims

          14              Archdiocese Medical and Dental       Unimpaired   No
                          Plan




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          15                Non-Credibly Accused          Priest   Unimpaired        No
                            Support Payments

          16                Credibly Accused Priest Support        Impaired          Yes
                            Payments



          3.2     CLASSIFICATION AND VOTING. The claims against the
          Archdiocese shall be classified as specified above (other than Administrative
          Claims and Priority Tax Claims, which shall be unclassified and treated in
          accordance with Article II). Consistent with Section 1122 of the Bankruptcy
          Code, a claim is classified by the Plan in a particular class only to the extent the
          claim is within the description of the class, and a claim is classified in a different
          class to the extent it is within the description of that different class.

          4.3    GENERAL INSURANCE FUND (CLASS 3).

          (b) Treatment. The Reorganized Debtor will assume the Archdiocese’s
          participation in the GIF and all liabilities to Class 3 claimants on the Effective
          Date. The Reorganized Debtor will continue to sponsor the GIF and will cause to
          be paid claims and administrative expenses under the GIF in accordance with the
          Archdiocese’s prior practice.

          4.4  ARCHDIOCESE OF SAINT PAUL AND MINNEAPOLIS PRIESTS’
          PENSION PLAN CLAIMS (CLASS 4).

          (b) Treatment. The Reorganized Debtor will assume the Archdiocese’s
          participation in the Priests’ Pension Plan and all liabilities associated therewith
          (including, but not limited to, any underfunding liabilities) and will continue to
          meet its obligations under the Priest Plan as they become due.

          4.5 ARCHDIOCESE OF SAINT PAUL AND MINNEAPOLIS LAY
          EMPLOYEES’ PENSION PLAN CLAIMS (CLASS 5).

          (b) Treatment. The Reorganized Debtor will assume the Archdiocese’s
          participation in the Lay Employees’ Pension Plan and all liabilities associated
          therewith (including, but not limited to, any underfunding liabilities) and will
          meet its obligations under the Lay Employees’ Pension Plan as they become due.

          4.7 FUTURE TORT CLAIMS (CLASS 7).

          (b) Treatment. Liability for Class 7 Claims shall be assumed by the Reorganized
          Debtor.

          4.8 INTER-PARISH LOAN FUND AND ASSESSMENT OVERPAYMENT
          CLAIMS (CLASS 8).


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          (b) Treatment. Unless otherwise agreed by an individual claimant and the
          Archdiocese, Archdiocesan Parishes who hold Class 8 Claims will be satisfied by
          a credit against the future assessments that would otherwise be due by such Parish
          after the Effective Date. The credit contemplated in this paragraph will be applied
          as determined by the Reorganized Debtor in accordance with its general practice
          in calculating assessments, until such time as the Class 8 Claim of such parish has
          been satisfied in full, without interest.

          4.9 TRADE VENDOR CLAIMS (CLASS 9).

          (b) Treatment. Class 9 Claim holders shall receive, directly from the
          Reorganized Debtor, payment in full of such allowed Class 9 Claims, on the
          Effective Date.

          4.13 ABUSE RELATED CONTINGENT CLAIMS (CLASS 13).

          (b) Treatment. Class 13 Claims shall not receive or retain any property under
          this Plan in accordance with 11 U.S.C. §502(e).

          4.14 ARCHDIOCESE MEDICAL AND DENTAL PLAN (CLASS 14).

          (b) Treatment. The Reorganized Debtor will assume the Archdiocese’s
          participation in the AMBP and all liabilities to Class 4 claimants on the Effective
          Date. The Reorganized Debtor will continue to sponsor the AMBP and will cause
          to be paid claims and administrative expenses under the AMBP in accordance
          with the Archdiocese’s prior practices.

          4.15 NON-CREDIBLY ACCUSED PRIEST SUPPORT PAYMENTS
          (CLASS 15).

          (b) Treatment. The Archdiocese has disclaimed any liability under civil law for
          Class 15 Claims and holders of Class 15 Claims shall receive no distribution
          under this Plan on account of such claims. Notwithstanding the fact that Class 15
          Claims receive no distribution, the Reorganized Debtor shall honor its post-
          Effective Date obligations with respect to non-credibly accused inactive priests in
          accordance with the Archdiocese’s prior practices.

          4.16 CREDIBLY ACCUSED PRIEST SUPPORT PAYMENTS (CLASS 16).

          (b) Treatment. All payments due or to become due to the holder of a Class 16
          claim shall be forfeited to the Trust and the Reorganized Debtor shall make all
          such payments directly to the Trust.

          5.2 Funding Options. Under this Plan, the Bankruptcy Court will determine the
          value of the Debtor's assets and the Debtor will then pay that value into the Trust.
          The Debtor may fund the Plan as it deems appropriate, whether through increases
          in Parish assessments, fundraising, loan financing and/or the sale of selected


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          assets. …Thus, to permit the Debtor to contribute the liquidation value of all of its
          assets, in conformance with Section 1129(a)(7) of the Bankruptcy Code.




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V.        Objection 8:

          5.2 FUNDING THIS PLAN. (b) Funding Options. Under this Plan, the
          Bankruptcy Court will determine the value of the Debtor's assets and the Debtor
          will then pay that value into the Trust. The Debtor may fund the Plan as it deems
          appropriate, whether through increases in Parish assessments, fundraising, loan
          financing and/or the sale of selected assets. …Thus, to permit the Debtor to
          contribute the liquidation value of all of its assets, in conformance with Section
          1129(a)(7) of the Bankruptcy Code.

          6.1 THE TRUST.

                  (a) Purpose, Formation and Assets. The Trust shall be established for
          the purposes described in this paragraph. The Trust shall receive the transfer and
          assignment of assets as provided in Articles V and VI, including from amounts
          transferred from the Plan Implementation Account, Settling Insurer Contributions,
          and the Transferred Insurance Interests, of which the Trust is, and shall be
          deemed to be, the sole assignee. The Trust shall make distributions to the Class 6
          claimants, as provided by this Plan, the Trust Agreement, and the Trust
          Distribution Plan. The Trust shall fund the defense of the Archdiocese and
          Reorganized Debtor …. The Trust shall advance funding or indemnify the
          Archdiocese and Reorganized Debtor with respect to any judgments or
          settlements of any Litigation Claims brought by Class 6 claimants, …The Trust
          shall fund the costs and expenses in executing these functions, all such functions
          to be executed in accordance with this Plan, the Trust Agreement, and the Trust
          Distribution Plan, …

          6.2(a) TREATMENT OF CLASS 6 CLAIMS.

          (a) Trust Liability. On the Effective Date, the Trust shall automatically and
          without further act or deed assume all liability for preserving, managing and
          distributing Trust Assets to Class 6 claimants pursuant to the Trust Distribution
          Plan. The Trust does not assume any liabilities of the Archdiocese or Reorganized
          Debtor . . ..

                                                      ***

          6.2(c) TREATMENT OF CLASS 6 CLAIMS.

          (c) Distributions to Qualified Claimants. The Tort Claims Reviewer shall
          determine whether a Class 6 Claimant is entitled to a distribution under the Trust
          Distribution Plan (“Qualified Claimant”). For all Qualified Claimants, the Tort
          Claims Reviewer will determine the number of points to be assigned to the
          Qualified Claimant pursuant to the Trust Distribution Plan. The Trust will notify
          every Qualified Claimant of his or her assigned number of points and will mail
          every Qualified Claimant a Claim Resolution Agreement, attached as Exhibit E.
          In order to receive any distribution from the Trust, the Qualified Claimant must


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          execute the Claim Resolution Agreement and mail it back to the Tort Claims
          Reviewer by First Class Mail, Postage Paid. In the Claim Resolution Agreement,
          the Class 6 Claimant shall release any Settling Insurer from further liability on the
          Class 6 Claims and waive any right to pursue a direct action under Minn. Stat. §
          60A.08, subd. 6 or other applicable law against any Settling Insurer…

          Committee Plan, Exhibit D: The Archdiocese of Saint Paul and Minneapolis
          Trust Agreement

          Section 2.1. The Trust Assets shall include all property transferred to the Trust
          pursuant to the Plan and future orders of the Bankruptcy Court, including (but not
          limited to) all rights of every kind, nature and description transferred to the Trust
          pursuant to Section 5.1 of the Plan, future orders of the Bankruptcy Court, or
          otherwise belonging to the Trust, including (but not limited to): …$34,500,000 in
          cash proceeds from Insurance Settlements…




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VI.       Objections 9 and 10:

          1.1 DEFINED TERMS. . . . (sss) “Transferred Insurance Interests” means all
          rights and interests of the Debtor and the Reorganized Debtor in Insurance
          Policies in respect of actual or potential coverage for any Class 6 Claim will be
          assigned and transferred to the Trust under the Plan: (i) the proceeds of such
          Insurance Policies, and (ii) all claims and causes of action that currently exist or
          may arise in the future against Non-Settling Insurers based on their conduct
          concerning insurance coverage for, or defense or settlement of, any Class 6
          Claim, including but not limited to all claims and causes of action for breach of
          the Insurance Policies, vexatious refusal, bad faith, wrongful failure to settle, and
          for any other similar claim or cause of action, including any and all such claims or
          causes of action providing for penalties, extra-contractual damages, punitive
          damages and attorneys' fees and costs...

          5.2 FUNDING THIS PLAN. . . . (e)(1) Non-Cash Assets Transferred Directly
          to the Trust. Upon establishment of the Trust, the following will be
          automatically and without further act or deed be assigned and transferred directly
          to the Trust …:

                 (1) The Transferred Insurance Interests in accordance with Section 6.1;

          6.1 THE TRUST. . . . (b) Transferred Insurance Interests. … the Interests
          delineated in Section 6.1(b)(2) and defined as Transferred Insurance Interests are
          additional Trust Assets.

                  (1) The Transferred Insurance Interests are hereby assigned and
          transferred to the Trust automatically and without further act or deed. The
          foregoing assignment and transfer shall not be construed as an assignment and
          transfer of the Insurance Policies.

                  (2) The Archdiocese’s and Reorganized Debtor’s interests in and rights to
          proceeds under the Insurance Policies are vested in the Trust notwithstanding any
          state law or private contractual provisions to the contrary, and such vesting of
          rights shall not diminish nor impair the coverage provided under any of the
          Insurance Policies. … The Trustee shall be entitled to all policy proceeds due by
          virtue of a judgment or settlement of a Class 6 Claim. The Trust shall be fully
          authorized to act in its own name, or in the name of the Archdiocese or
          Reorganized Debtor, to enforce any right, title or interest of the Archdiocese and
          the Reorganized Debtor in the Transferred Insurance Interests. The Trust shall
          have the right to pursue judgment against Non-Settling Insurers to determine the
          existence and amount of coverage available for the Archdiocese’s liability for
          Class 6 Claims…




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VII.      Objections 11 and 12:

          1.1 DEFINED TERMS. . . . (sss) “Transferred Insurance Interests” means all
          rights and interests of the Debtor and the Reorganized Debtor in Insurance
          Policies in respect of actual or potential coverage for any Class 6 Claim will be
          assigned and transferred to the Trust under the Plan: (i) the proceeds of such
          Insurance Policies, and (ii) all claims and causes of action that currently exist or
          may arise in the future against Non-Settling Insurers based on their conduct
          concerning insurance coverage for, or defense or settlement of, any Class 6
          Claim, including but not limited to all claims and causes of action for breach of
          the Insurance Policies, vexatious refusal, bad faith, wrongful failure to settle, and
          for any other similar claim or cause of action, including any and all such claims or
          causes of action providing for penalties, extra-contractual damages, punitive
          damages and attorneys' fees and costs...

          5.2 FUNDING THIS PLAN. . . . (e)(1) Non-Cash Assets Transferred Directly
          to the Trust. Upon establishment of the Trust, the following will be
          automatically and without further act or deed be assigned and transferred directly
          to the Trust …:

                 (1) The Transferred Insurance Interests in accordance with Section 6.1;

          6.1 THE TRUST.

                  (a) Purpose, Formation and Assets. The Trust shall be established for
          the purposes described in this paragraph. The Trust shall receive the transfer and
          assignment of assets as provided in Articles V and VI, including from amounts
          transferred from the Plan Implementation Account, Settling Insurer Contributions,
          and the Transferred Insurance Interests, of which the Trust is, and shall be
          deemed to be, the sole assignee. The Trust shall make distributions to the Class 6
          claimants, as provided by this Plan, the Trust Agreement, and the Trust
          Distribution Plan. The Trust shall fund the defense of the Archdiocese and
          Reorganized Debtor …. The Trust shall advance funding or indemnify the
          Archdiocese and Reorganized Debtor with respect to any judgments or
          settlements of any Litigation Claims brought by Class 6 claimants, …The Trust
          shall fund the costs and expenses in executing these functions, all such functions
          to be executed in accordance with this Plan, the Trust Agreement, and the Trust
          Distribution Plan, …

                 (b) Transferred Insurance Interests. … the Interests delineated in
          Section 6.1(b)(2) and defined as Transferred Insurance Interests are additional
          Trust Assets.

                  (1) The Transferred Insurance Interests are hereby assigned and
          transferred to the Trust automatically and without further act or deed. The
          foregoing assignment and transfer shall not be construed as an assignment and
          transfer of the Insurance Policies.


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                  (2) The Archdiocese’s and Reorganized Debtor’s interests in and rights to
          proceeds under the Insurance Policies are vested in the Trust notwithstanding any
          state law or private contractual provisions to the contrary, and such vesting of
          rights shall not diminish nor impair the coverage provided under any of the
          Insurance Policies. … The Trustee shall be entitled to all policy proceeds due by
          virtue of a judgment or settlement of a Class 6 Claim. The Trust shall be fully
          authorized to act in its own name, or in the name of the Archdiocese or
          Reorganized Debtor, to enforce any right, title or interest of the Archdiocese and
          the Reorganized Debtor in the Transferred Insurance Interests. The Trust shall
          have the right to pursue judgment against Non-Settling Insurers to determine the
          existence and amount of coverage available for the Archdiocese’s liability for
          Class 6 Claims…




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VIII. Objection 15:

          4.3    GENERAL INSURANCE FUND (CLASS 3).

          (a) Definition. A “Class 3 Claim” means an allowed claim against the
          Archdiocese held by Catholic Entities arising from or related in any way to the
          collection and use of payments made by such claimant to the Archdiocese under
          the GIF, including any claims arising from the administration by the Archdiocese
          of the GIF.

          (b) Treatment. The Reorganized Debtor will assume the Archdiocese’s
          participation in the GIF and all liabilities to Class 3 claimants on the Effective
          Date. The Reorganized Debtor will continue to sponsor the GIF and will cause to
          be paid claims and administrative expenses under the GIF in accordance with the
          Archdiocese’s prior practices.

          6.3    NON-SETTLING INSURERS.

          (a) Preservation of Rights and Obligations.

          (1) In the event: (i) a Class 6 Claim is pursued in state or federal court by a Class
          6 claimant against the Archdiocese or Reorganized Debtor, or (ii) the Trust asserts
          an objection to or otherwise seeks a determination of liability as to a Class 6
          Claim, then the Archdiocese, Reorganized Debtor, the Trust and each Non-
          Settling Insurer shall retain any and all legal and factual defenses that may exist in
          respect of such Class 6 Claim and all coverage defenses. The rights, duties and
          obligations of each Non-Settling Insurer and the Archdiocese or Reorganized
          Debtor under the Insurance Policies with respect to such Class 6 Claim are not
          impaired, altered, reduced, or diminished by: (a) any distribution to Class 6
          claimants pursuant to this Plan, the Trust Agreement, and the Trust Distribution
          Plan; (b) the transfer and assignment of the Archdiocese’s Transferred Insurance
          Interests in the Insurance Policies issued by the Non-Settling Insurers; (c) releases
          granted to Settling Insurers under the Plan; or (d) any other provision of this Plan,
          the Trust Agreement, or the Trust Distribution Plan. Non-Settling Insurers retain
          any defenses that they would be able to raise if the claim for coverage were
          brought by the Archdiocese or Reorganized Debtor, except any defense (1) related
          to the transfer of Transferred Insurance Interests to the Trust; (2) effected by
          operation of bankruptcy law as a result of confirmation; or (3) based on facts
          determined by the Bankruptcy Court in connection with the confirmation.

          (d) This Plan is Neutral as to Insurance Policies. For the avoidance of doubt,
          solely with respect to the Non-Settling Insurers, nothing in the Plan, the Trust
          Agreement, the Trust Distribution Plan, the Confirmation Order, or any other
          order of the Bankruptcy Court to the contrary (including any other provision that
          purports to be preemptory or supervening or grants a release): (i) shall affect,
          impair, or prejudice the rights and defenses of any Non-Settling Insurer, the
          Archdiocese, the Reorganized Debtor, the Trust, or any other insureds under any


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          Insurance Policy in any manner, including any defenses to any claim for
          insurance; (ii) shall constitute a settlement or resolution of the Archdiocese’s or
          Reorganized Debtor’s liability to a claimant; (iii) shall in any way operate to, or
          have the effect of, impairing or having any res judicata, collateral estoppel, or
          other preclusive effect on, any party’s legal, equitable, or contractual rights or
          obligations under any insurance policy in any respect; or (v) shall otherwise
          determine the application or non-application of any provision of any Insurance
          Policy and any such rights and obligations shall be determined under the
          Insurance Policy and applicable law.




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IX.       Objection 16:

          4.3    GENERAL INSURANCE FUND (CLASS 3).

          (a) Definition. A “Class 3 Claim” means an allowed claim against the
          Archdiocese held by Catholic Entities arising from or related in any way to the
          collection and use of payments made by such claimant to the Archdiocese under
          the GIF, including any claims arising from the administration by the Archdiocese
          of the GIF.

          (b) Treatment. The Reorganized Debtor will assume the Archdiocese’s
          participation in the GIF and all liabilities to Class 3 claimants on the Effective
          Date. The Reorganized Debtor will continue to sponsor the GIF and will cause to
          be paid claims and administrative expenses under the GIF in accordance with the
          Archdiocese’s prior practices.

          Plan, Exhibit D, The Archdiocese of Saint Paul and Minneapolis Trust Agreement

          Section 2.1

          The Trust Assets shall include …$5,000,000 representing the value of the General
          Insurance Fund….




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X.        Objections 17 and 18:

          4.15 NON-CREDIBLY ACCUSED PRIEST SUPPORT PAYMENTS
          (CLASS 15).

          (a) Definition. A “Class 15 Claim” means a claim for support or maintenance by
          any inactive Archdiocesan Priest who is not a Credibly Accused Priest.

          (b) Treatment. The Archdiocese has disclaimed any liability under civil law for
          Class 15 Claims and holders of Class 15 Claims shall receive no distribution
          under this Plan on account of such claims. Notwithstanding the fact that Class 15
          Claims receive no distribution, the Reorganized Debtor shall honor its post-
          Effective Date obligations with respect to non-credibly accused inactive priests in
          accordance with the Archdiocese’s prior practices.

          4.16 CREDIBLY ACCUSED PRIEST SUPPORT PAYMENTS (CLASS 16)

          (a) Definition. A “Class 16 Claim” means a claim for support or maintenance by
          an inactive or active Archdiocesan Priest who is a Credibly Accused Priest.

          (b) Treatment. All payments due or to become due to the holder of a Class 16
          claim shall be forfeited to the Trust and the Reorganized Debtor shall make all
          such payments directly to the Trust.




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XI.       Objection 19:

          4.6 PENDING TORT CLAIMS (CLASS 6).

          (a) Definition. A “Class 6 Claim” means a Pending Tort Claim.

          (b) Summary. …Distribution from the Trust, however, does not preclude or
          affect claims or recoveries by Class 6 claimants against the Archdiocese, the
          Reorganized Debtor or Non-Settling Insurers. The Trust shall fund the defense
          of the Archdiocese and the Reorganized Debtor as against any Litigation Claims
          brought by Class 6 Claimants, but only to the extent that the Archdiocese or
          Reorganized Debtor is not defended or otherwise reimbursed for its defense
          expenses by any Insurer. The Trust shall advance funding or indemnify the
          Archdiocese and the Reorganized Debtor with respect to any judgments or
          settlements of any Litigation Claims brought by Class 6 claimants, but only to
          the extent that such judgments or settlements are not funded, or the Archdiocese
          or the Reorganized Debtor is not indemnified for them, by any Insurer. The Trust
          shall pursue recoveries against any Non-Settling Insurers in respect of the
          Transferred Insurance Interests. … The Class 6 Claims will not be released or
          discharged against the Archdiocese or Reorganized Debtor until such claims
          are settled with the Archdiocese or Reorganized Debtor and its Insurers or
          are fully adjudicated, resolved and subject to Final Order …

                                                   ***

          (emphasis added).

          6.3 NON-SETTLING INSURERS.

          (a) Preservation of Rights and Obligations.

          (1) In the event: (i) a Class 6 Claim is pursued in state or federal court by a Class
          6 claimant against the Archdiocese or Reorganized Debtor, or (ii) the Trust asserts
          an objection to or otherwise seeks a determination of liability as to a Class 6
          Claim, then the Archdiocese, Reorganized Debtor, the Trust and each Non-
          Settling Insurer shall retain any and all legal and factual defenses that may exist in
          respect of such Class 6 Claim and all coverage defenses. The rights, duties and
          obligations of each Non-Settling Insurer and the Archdiocese or Reorganized
          Debtor under the Insurance Policies with respect to such Class 6 Claim are
          not impaired, altered, reduced, or diminished by: (a) any distribution to
          Class 6 claimants pursuant to this Plan, the Trust Agreement, and the Trust
          Distribution Plan; (b) the transfer and assignment of the Archdiocese’s
          Transferred Insurance Interests in the Insurance Policies issued by the Non-
          Settling Insurers; (c) releases granted to Settling Insurers under the Plan; or (d)
          any other provision of this Plan, the Trust Agreement, or the Trust Distribution
          Plan. Non-Settling Insurers retain any defenses that they would be able to raise if
          the claim for coverage were brought by the Archdiocese or Reorganized Debtor,


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          except any defense (1) related to the transfer of Transferred Insurance Interests to
          the Trust; (2) effected by operation of bankruptcy law as a result of confirmation;
          or (3) based on facts determined by the Bankruptcy Court in connection with the
          confirmation.

                                                  ***

          (emphasis added).




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XII.      Objection 20:

          4.6 PENDING TORT CLAIMS (CLASS 6).

          (a) Definition. A “Class 6 Claim” means a Pending Tort Claim.

          (b) Summary. …Distribution from the Trust, however, does not preclude or
          affect claims or recoveries by Class 6 claimants against the Archdiocese, the
          Reorganized Debtor or Non-Settling Insurers. The Trust shall fund the defense
          of the Archdiocese and the Reorganized Debtor as against any Litigation Claims
          brought by Class 6 Claimants, but only to the extent that the Archdiocese or
          Reorganized Debtor is not defended or otherwise reimbursed for its defense
          expenses by any Insurer. The Trust shall advance funding or indemnify the
          Archdiocese and the Reorganized Debtor with respect to any judgments or
          settlements of any Litigation Claims brought by Class 6 claimants, but only to
          the extent that such judgments or settlements are not funded, or the Archdiocese
          or the Reorganized Debtor is not indemnified for them, by any Insurer. The Trust
          shall pursue recoveries against any Non-Settling Insurers in respect of the
          Transferred Insurance Interests. … The Class 6 Claims will not be released or
          discharged against the Archdiocese or Reorganized Debtor until such claims
          are settled with the Archdiocese or Reorganized Debtor and its Insurers or
          are fully adjudicated, resolved and subject to Final Order …

          ***

          (emphasis added).

          4.7 FUTURE TORT CLAIMS (CLASS 7).

          (a) Definition. A Class 7 Claim means a Future Tort Claim (“Class 7 Claim”).

          (b) Treatment. Liability for Class 7 Claims shall be assumed by the
          Reorganized Debtor. … The Class 7 Claims will not be released against the
          Archdiocese or Reorganized Debtor until such Class 7 Claims are settled
          with the Archdiocese or Reorganized Debtor and its Insurers, or until such
          Class 7 Claims are fully adjudicated and determined and subject to Final
          Order… (emphasis added)




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XIII. Objection 22:

          4.6 PENDING TORT CLAIMS (CLASS 6).

          (a) Definition. A “Class 6 Claim” means a Pending Tort Claim.

          (b) Summary. …Distribution from the Trust, however, does not preclude or
          affect claims or recoveries by Class 6 claimants against the Archdiocese, the
          Reorganized Debtor or Non-Settling Insurers. The Trust shall fund the defense
          of the Archdiocese and the Reorganized Debtor as against any Litigation Claims
          brought by Class 6 Claimants, but only to the extent that the Archdiocese or
          Reorganized Debtor is not defended or otherwise reimbursed for its defense
          expenses by any Insurer. The Trust shall advance funding or indemnify the
          Archdiocese and the Reorganized Debtor with respect to any judgments or
          settlements of any Litigation Claims brought by Class 6 claimants, but only to
          the extent that such judgments or settlements are not funded, or the Archdiocese
          or the Reorganized Debtor is not indemnified for them, by any Insurer. The Trust
          shall pursue recoveries against any Non-Settling Insurers in respect of the
          Transferred Insurance Interests. … The Class 6 Claims will not be released or
          discharged against the Archdiocese or Reorganized Debtor until such claims
          are settled with the Archdiocese or Reorganized Debtor and its Insurers or
          are fully adjudicated, resolved and subject to Final Order …

          ***

          (emphasis added).

          6.2(a) TREATMENT OF CLASS 6 CLAIMS.

          (a) Trust Liability. On the Effective Date, the Trust shall automatically and
          without further act or deed assume all liability for preserving, managing and
          distributing Trust Assets to Class 6 claimants pursuant to the Trust Distribution
          Plan. The Trust does not assume any liabilities of the Archdiocese or Reorganized
          Debtor . . ..

                                                      ***

          6.2(c) TREATMENT OF CLASS 6 CLAIMS.

          (c) Distributions to Qualified Claimants. The Tort Claims Reviewer shall
          determine whether a Class 6 Claimant is entitled to a distribution under the Trust
          Distribution Plan (“Qualified Claimant”). For all Qualified Claimants, the Tort
          Claims Reviewer will determine the number of points to be assigned to the
          Qualified Claimant pursuant to the Trust Distribution Plan. The Trust will notify
          every Qualified Claimant of his or her assigned number of points and will mail
          every Qualified Claimant a Claim Resolution Agreement, attached as Exhibit E.
          In order to receive any distribution from the Trust, the Qualified Claimant must


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          execute the Claim Resolution Agreement and mail it back to the Tort Claims
          Reviewer by First Class Mail, Postage Paid. In the Claim Resolution Agreement,
          the Class 6 Claimant shall release any Settling Insurer from further liability on the
          Class 6 Claims and waive any right to pursue a direct action under Minn. Stat. §
          60A.08, subd. 6 or other applicable law against any Settling Insurer…

          (d) Election. No later than thirty (30) business days after a Class 6 claimants is
          notified of his or her status as a Qualified Claimant and the number of his or her
          assigned points under the Trust Distribution Plan, the Qualified Claimant shall
          elect in writing one of the following treatment alternatives:

                  (1)     Treatment of a Qualified Claimant Pursuant to Trust
          Distribution Plan. A Qualified Claimant may elect to have his or her Class 6
          Claim be treated as a “Distribution Plan Claim”. By accepting a partial
          distribution, a Distribution Plan Claimant does not waive any rights against the
          Archdiocese or Reorganized Debtor and other parties with respect to the Class 6
          Claim(s) and will be entitled to future distributions if additional Trust Proceeds
          become available from settlements with Non-Settling Insurers or from judgments
          awarded and collected by the Trust or Litigation Claimants, until such
          Distribution Plan Claimant has received the full amount of damages awardable to
          such Distribution Plan Claimant under the terms of the Trust Distribution Plan. A
          Class 6 Claimant electing treatment as a Distribution Plan Claimant retains the
          right to pursue (a) a monetary judgment against the Archdiocese or Reorganized
          Debtor, as well as any third person, for his or her Class 6 Claim for its full amount
          according to proof; and (b) a direct action against any Non-Settling Insurer to the
          extent allowed by applicable law, including Minn. Stat. § 60A.08, subd. 6. …

                         or

                   (2)    Treatment of a Qualified Claimant as a Litigation Claimant. A
          Qualified Claimant that elects treatment as a litigation claim (“Litigation
          Claimant”) will have the same rights as Distribution Plan Claimants to initial and
          future distributions from the Trust up to the full damages awardable to such
          Distribution Plan Claimant under the terms of the Trust Distribution Plan. A
          Litigation Claimant that recovers a judgment or settlement will also be entitled to
          an additional award as set forth in Section 6.2(i) below. A Litigation Claimant
          retains the right to pursue (a) a monetary judgment against the Archdiocese or
          Reorganized Debtor, as well as any third person, for his or her Class 6 Claim for
          its full amount according to proof; and (b) a direct action against any Non-Settling
          Insurer to the extent allowed by applicable law, including Minn. Stat. § 60A.08,
          subd. 6 (each a “Litigation Claim”). A Litigation Claimant’s recovery on a
          Litigation Claim is limited as provided herein.

                                                        ***

          (f) The Trust retains the right to pursue Non-Settling Insurers for the
          Archdiocese’s and Reorganized Debtor’s liability to Class 6 Claimants regardless


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          of whether the Class 6 Claimants elect treatment as Distribution Plan Claimants or
          Litigation Claimants.




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XIV. Objection 24:

          4.6 PENDING TORT CLAIMS (CLASS 6).

          (a) Definition. A “Class 6 Claim” means a Pending Tort Claim.

          (b) Summary. …Distribution from the Trust, however, does not preclude or
          affect claims or recoveries by Class 6 claimants against the Archdiocese, the
          Reorganized Debtor or Non-Settling Insurers. The Trust shall fund the defense
          of the Archdiocese and the Reorganized Debtor as against any Litigation Claims
          brought by Class 6 Claimants, but only to the extent that the Archdiocese or
          Reorganized Debtor is not defended or otherwise reimbursed for its defense
          expenses by any Insurer. The Trust shall advance funding or indemnify the
          Archdiocese and the Reorganized Debtor with respect to any judgments or
          settlements of any Litigation Claims brought by Class 6 claimants, but only to
          the extent that such judgments or settlements are not funded, or the Archdiocese
          or the Reorganized Debtor is not indemnified for them, by any Insurer. The Trust
          shall pursue recoveries against any Non-Settling Insurers in respect of the
          Transferred Insurance Interests. … The Class 6 Claims will not be released or
          discharged against the Archdiocese or Reorganized Debtor until such claims
          are settled with the Archdiocese or Reorganized Debtor and its Insurers or
          are fully adjudicated, resolved and subject to Final Order …

          ***

          (emphasis added).

          6.2(c) TREATMENT OF CLASS 6 CLAIMS.

          (c) Distributions to Qualified Claimants. The Tort Claims Reviewer shall
          determine whether a Class 6 Claimant is entitled to a distribution under the Trust
          Distribution Plan (“Qualified Claimant”). For all Qualified Claimants, the Tort
          Claims Reviewer will determine the number of points to be assigned to the
          Qualified Claimant pursuant to the Trust Distribution Plan. The Trust will notify
          every Qualified Claimant of his or her assigned number of points and will mail
          every Qualified Claimant a Claim Resolution Agreement, attached as Exhibit E.
          In order to receive any distribution from the Trust, the Qualified Claimant must
          execute the Claim Resolution Agreement and mail it back to the Tort Claims
          Reviewer by First Class Mail, Postage Paid. In the Claim Resolution Agreement,
          the Class 6 Claimant shall release any Settling Insurer from further liability on the
          Class 6 Claims and waive any right to pursue a direct action under Minn. Stat. §
          60A.08, subd. 6 or other applicable law against any Settling Insurer…

          EXHIBIT E, Claim Resolution Agreement,




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XV.       Objection 25:

          6.1 THE TRUST

          (c)     Appointment of Trustee as Estate Representative to Enforce
          Insurance Interests and Obtain Insurance Recoveries. If the Bankruptcy Court
          does not enter a Final Order approving the assignment and transfer of the
          Transferred Insurance Interests to the Trust, then pursuant to the provisions of
          Section 1123(b)(3)(B) of the Bankruptcy Code, the Trustee is hereby appointed as
          the representative of the Archdiocese’s Estate for the purpose of retaining and
          enforcing all of the Archdiocese’s and the Estate’s interests under the Non-
          Settling Insurers’ Insurance Policies against the Non-Settling Insurers with
          respect to the Class 6 Claims. Any recoveries on such interests by the Trustee will
          be paid to the Trust. The determination of whether the appointment of the Trust as
          the Archdiocese’s and the Estate’s representative is valid, and does not defeat or
          impair the insurance coverage otherwise provided by Non-Settling Insurers, shall
          be made by the Bankruptcy Court at the confirmation hearing. If a party in
          interest (which, for this purpose, shall include the Non-Settling Insurers) fails to
          timely file an objection to the proposed appointment by the deadline for filing
          objections to confirmation of this Plan, that party in interest shall be deemed to
          have irrevocably consented to the appointment and will be forever barred from
          asserting that the appointment in any way affects the ability of the Trust to pursue
          Non-Settling Insurers, or any of them, for insurance coverage. …If the Trust
          brings an action against a Non-Settling Insurer to assert any claim or to determine
          the Non-Settling Insurer’s obligation to provide coverage for any Class 6 Claim,
          the Non- Settling Insurer may raise any defense to coverage as if the action had
          been brought by the Archdiocese or the Reorganized Debtor, except any defense
          (1) regarding the appointment; (2) effected by operation of law because of
          confirmation of this Plan; or (3) based on res judicata or collateral estoppel related
          to facts determined by the Bankruptcy Court…

          16.20 SUCCESSORS AND ASSIGNS.

          This Plan shall be binding upon and inure to the benefit of the Archdiocese and its
          successors and assigns, including the Reorganized Debtor. The rights, benefits,
          and obligations of any entity named or referred to in this Plan shall be binding on,
          and shall inure to the benefit of, any heir, executor, administrator successor, or
          assign of such entity.




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XVI. Objection 27:

          6.1(b)(4) The determination of whether the assignment and transfer of the
          Transferred Insurance Interests provided for in this Section is valid, and does not
          void, defeat or impair the insurance coverage issued by the Non-Settling Insurers,
          shall be made by the Bankruptcy Court at the confirmation hearing. If a party in
          interest (which, for this purpose, shall include Non-Settling Insurers) fails to
          timely file an objection to the proposed assignment and transfer of the Transferred
          Insurance Interests or other terms of the Plan related to the Insurance Policies by
          the date set to file such objections, that party in interest shall be deemed to have
          irrevocably consented to the assignment and transfer of Transferred Insurance
          Interests and other Plan terms related to the Insurance Policies and will be forever
          barred from asserting that the assignment and transfer of the Transferred
          Insurance Interests or other Plan terms affect the ability of the Trust or Class 6
          claimants to pursue the Non-Settling Insurers, or any of them, for insurance
          coverage. In the event that the Bankruptcy Court enters a Final Order that the
          assignment and transfer of the Transferred Insurance Interests is valid and does
          not defeat or impair coverage of the Non-Settling Insurers, following the Effective
          Date, the Archdiocese and Reorganized Debtor shall not be relieved of any
          obligations under the Non-Settling Insurers’ Insurance Policies. In order to ensure
          that the Archdiocese and Reorganized Debtor will abide by applicable obligations
          under the Insurance Policies, any release, discharge and/or injunction issued as a
          result of this Plan or in connection with this bankruptcy shall not encompass any
          claim by the Trust that the Archdiocese and/or Reorganized Debtor breached
          obligations under the Insurance Policies thereby causing the Trust to suffer
          damages, including in the amount of the insurance coverage lost as a result of the
          breach, and such a claim shall be an allowed claim for breach of contract against
          the Reorganized Debtor.




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XVII. Objection 29:

          6.1 THE TRUST

          (c)     Appointment of Trustee as Estate Representative to Enforce
          Insurance Interests and Obtain Insurance Recoveries. If the Bankruptcy Court
          does not enter a Final Order approving the assignment and transfer of the
          Transferred Insurance Interests to the Trust, then pursuant to the provisions of
          Section 1123(b)(3)(B) of the Bankruptcy Code, the Trustee is hereby appointed as
          the representative of the Archdiocese’s Estate for the purpose of retaining and
          enforcing all of the Archdiocese’s and the Estate’s interests under the Non-
          Settling Insurers’ Insurance Policies against the Non-Settling Insurers with
          respect to the Class 6 Claims. Any recoveries on such interests by the Trustee will
          be paid to the Trust. The determination of whether the appointment of the Trust as
          the Archdiocese’s and the Estate’s representative is valid, and does not defeat or
          impair the insurance coverage otherwise provided by Non-Settling Insurers, shall
          be made by the Bankruptcy Court at the confirmation hearing. If a party in
          interest (which, for this purpose, shall include the Non-Settling Insurers) fails to
          timely file an objection to the proposed appointment by the deadline for filing
          objections to confirmation of this Plan, that party in interest shall be deemed to
          have irrevocably consented to the appointment and will be forever barred from
          asserting that the appointment in any way affects the ability of the Trust to pursue
          Non-Settling Insurers, or any of them, for insurance coverage. …If the Trust
          brings an action against a Non-Settling Insurer to assert any claim or to determine
          the Non-Settling Insurer’s obligation to provide coverage for any Class 6 Claim,
          the Non- Settling Insurer may raise any defense to coverage as if the action had
          been brought by the Archdiocese or the Reorganized Debtor, except any defense
          (1) regarding the appointment; (2) effected by operation of law because of
          confirmation of this Plan; or (3) based on res judicata or collateral estoppel related
          to facts determined by the Bankruptcy Court.…

          Section 6.1(c)(1)(i) At the reasonable request of the Trust, the Reorganized
          Debtor will assert its Interests against a Non-Settling Insurer, including, but not
          limited to, by filing a lawsuit for recovery of policy proceeds. The Reorganized
          Debtor will cooperate and assist the Trust in enforcing any right or prosecuting
          any claim based on the Transferred Insurance Interests. This cooperation includes,
          but is not limited to, providing access to documents and electronic information
          and providing clergy, employees, agents, and volunteers to testify in depositions
          and at trial. If the Reorganized Debtor fails to cooperate and assist the Trust as set
          forth herein, then any release, discharge and/or injunction issued as a result of this
          Reorganization Plan or in connection with this bankruptcy shall not encompass
          any claim by the Trust that the Archdiocese and/or Reorganized Debtor breached
          obligations owed to the Trustee hereunder thereby causing the Trust to suffer
          damages, including in the amount of the insurance coverage lost as a result of the
          breach, and such a claim shall be an allowed claim for breach of contract against
          the Reorganized Debtor.


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          8.4 RIGHTS AND RESPONSIBILITIES OF TRUSTEE.

          (a) The Trustee shall be deemed the Estate’s representative in accordance with
          Section 1123 of the Bankruptcy Code and shall have all the rights, powers,
          authority, responsibilities, and benefits specified in this Plan and the Trust
          Agreement, including the powers of a trustee under Sections 704, 1108 and 1106
          of the Bankruptcy Code and Bankruptcy Rule 2004 (including commencing,
          prosecuting or settling Causes of Action, enforcing contracts, and asserting
          claims, defenses, offsets and privileges)…




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XVIII. Objection 30:

          8.4(a)(3) Any and all rights to the following shall be transferred to the Trust upon
          the Effective Date, and shall be preserved prior to the Effective Date by the
          Debtor for the benefit of the Trust… (3) Any and all rights and powers and
          agreements necessary to permit the Trust to collect past-due assessments owed by
          Archdiocesan Parishes…




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XIX. Objection 31:

15.3 IDENTITY OF OFFICERS OF REORGANIZED DEBTOR. In accordance with §
1129(a)(5) of the Bankruptcy Code, the identities and affiliations of the Persons proposed to
serve as the corporate Members of the Reorganized Debtor and the persons proposed to serve as
directors and officers of the Reorganized Debtor on and after the Effective Date are set forth on
Exhibit J.




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XX.       Objection 32:

          16.8(a) By the Bankruptcy Court. …the Bankruptcy Court shall retain… (ii)
          original, but not exclusive, jurisdiction to hear and determine all core proceedings
          arising under the Bankruptcy Code or arising in this Chapter 11 case, and (iii)
          original, but not exclusive, jurisdiction to hear and make proposed findings of fact
          and conclusions of law in any non-core proceedings related to this Chapter 11
          case and this Plan, including matters concerning the interpretation,
          implementation, consummation, execution, or administration of this Plan. Subject
          to, but without limiting the generality of the foregoing, the Bankruptcy Court’s
          post-Effective Date jurisdiction shall include jurisdiction…

              (6) over matters related to the assets of the Estate or of the Trust, including the
          terms of the Trust or the recovery, liquidation, or abandonment of Trust Assets;
          …

          (18) over disputes regarding the Archdiocese’s, the Trustee’s, or any Insurer’s
          rights and duties in connection with the defense of Litigation Claims under
          Section 6.2(f)…




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